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IN THE UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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                                                             :
                                                             : No. 17 Civ. 4853 (JSR)
 SARAH PALIN,
                                                             :
                                 Plaintiff,                  : ECF Case
                                                             :
                                                             :
                         -against-                           :
                                                             :
                                                             :
 THE NEW YORK TIMES COMPANY and JAMES                        :
 BENNET,                                                     :
                                                             :
                                Defendants.                  :
                                                             :
 -------------------------------------                       X


                            JOINT PRETRIAL CONSENT ORDER

        Pursuant to Rule 4 of the Court’s Individual Rules of Practice, Plaintiff Sarah Palin and

Defendants The New York Times Company (“The Times”) and James Bennet respectfully

submit this proposed joint pretrial order for the jury trial scheduled to commence on January 24,

2022.

I.      JOINT OVERVIEW OF THE CASE

        This is an action to recover damages for libel, also commonly referred to as defamation.

A libel is a false statement, in writing, about the plaintiff, which tends to expose the plaintiff to

public hatred, contempt, ridicule or disgrace.

        Sarah Palin is the former governor of Alaska and a former vice-presidential candidate.

The Times is a media company that that publishes The New York Times newspaper, and

Mr. Bennet was the Editor of the Opinion Section of the newspaper during the relevant period.
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         On the morning of June 14, 2017, a gunman named James Hodgkinson attacked a group

of Republican members of Congress practicing for the annual Congressional Baseball Game at a

field in Arlington, Virginia – hitting four people, among them Congressperson Steve Scalise.

After the shooting, Defendants published an editorial entitled “America’s Lethal Politics” (also

referred to as the “Editorial”).

         The Editorial states, in part:

         “Was this attack evidence of how vicious American politics has become?
         Probably. In 2011, when Jared Lee Loughner opened fire in a supermarket
         parking lot, grievously wounding Representative Gabby Giffords and killing six
         people, including a 9-year-old-girl, the link to political incitement was clear.
         Before the shooting, Sarah Palin’s political action committee circulated a map of
         targeted electoral districts that put Ms. Giffords and 19 other Democrats under
         stylized cross hairs.

         Conservatives and right-wing media were quick on Wednesday to demand
         forceful condemnation of hate speech and crimes by anti-Trump liberals. They’re
         right. Though there’s no sign of incitement as direct as in the Giffords attack,
         liberals should of course hold themselves to the same standard of decency that
         they ask of the right.”

Governor Palin asserts that these passages of the Editorial defamed her. Defendants contend that

Governor Palin cannot satisfy her burdens of proof on the elements of her defamation claim.

II.      GOVERNOR PALIN’S PARTICULARIZED DESCRIPTION OF HER CLAIM1

         Governor Palin’s libel claim is based on the following defamatory passages in

“America’s Lethal Politics”:

                 “Was this attack evidence of how vicious American politics has
                 become? Probably. In 2011, when Jared Lee Loughner opened
                 fire in a supermarket parking lot, grievously wounding
                 Representative Gabby Giffords and killing six people, including a
                 9-year-old -girl, the link to political incitement was clear. Before
                 the shooting, Sarah Palin’s political action committee circulated a
                 map of targeted electoral districts that put Ms. Giffords and 19
                 other Democrats under stylized cross hairs.

1
    Defendants have not asserted any claims or counterclaims.


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               Conservatives and right-wing media were quick on Wednesday to
               demand forceful condemnation of hate speech and crimes by anti-
               Trump liberals. They’re right. Though there’s no sign of
               incitement as direct as in the Giffords attack, liberals should of
               course hold themselves to the same standard of decency that they
               ask of the right.”

       Defendants published these defamatory passages, which are “of and concerning”

Plaintiff, false, and defamatory, both online and in print. Specifically, Governor Palin maintains

that these passages falsely assert that she “incited” Jared Loughner to “open fire in a supermarket

parking lot, grievously wounding Representative Gabby Giffords and killing six people,

including a 9-year-old-girl,” and that Governor Palin’s “political incitement” of Loughner’s

crimes was clear and directly linked to the “Giffords attack.” As a matter of law, the challenged

statements are actionable without proof of special damages because they tend to expose

Governor Palin to hatred, contempt, ridicule, or disgrace and, independently, because they are

reasonably susceptible to a connotation of criminality and/or tend to disparage Governor Palin in

her office, profession, occupation, or trade.

III.   PARTICULARIZED STATEMENT OF THE SPECIFIC FACTS,
       STIPULATIONS, ADMISSIONS, AND OTHER MATTERS ON WHICH THE
       PARTIES AGREE

                                       Factual Stipulations

       1.      In 2006, Governor Palin was elected as the first female governor of Alaska.

       2.      Governor Palin rose to national prominence when Senator John McCain selected
               her as his running mate in the 2008 presidential election, becoming the first
               woman nominated to be the Republican vice-presidential candidate.

       3.      On January 8, 2011, Loughner attacked a “Congress on Your Corner” political
               event hosted by Congressperson Giffords at a supermarket parking lot in Tucson,
               Arizona. Loughner shot 19 people, killing six, including a nine year-old girl and
               Chief Federal Judge John Roll, and severely wounding Congressperson Giffords
               and others.

       4.      In May 2016, The Times hired Bennet as Editor of the Opinion Section.


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5.    On the morning of June 14, 2017, Republican members of Congress were at a
      field in Arlington, Virginia, practicing for the annual Congressional Baseball
      Game, when James Hodgkinson shot and wounded Republican Congressperson
      Scalise and others, before he was shot and killed by police.

6.    In June 2017, the Editorial Board members and Opinion staff at The Times
      included, among others, the following individuals who worked on “America’s
      Lethal Politics”:

                Bennet was the Editor of the Opinion Section of The
                 Times during the relevant period.

                Robert B. Semple Jr. was an Editorial Board Member
                 who served as an associate editor and had worked for
                 The Times for around 50 years when The Times
                 published the Editorial. Semple has since retired from
                 The Times.

                Linda Cohn was an Editorial Board Member who had
                 served as an editor within the Opinion Section since
                 1988 and retired in November 2017.

                Nick Fox is an Editorial Board Member who serves as
                 an editor within the Opinion Section and has worked
                 for The Times since 1995.

                Jesse Wegman is an Editorial Board Member who
                 joined the board in 2013 and is focused on The
                 Supreme Court and legal affairs.

                Elizabeth Williamson was an Editorial Board Member
                 who joined the board in 2015 and focused on national
                 politics and the United States Congress. Williamson is
                 now employed by The Times for its Features Section.

                Eileen Lepping has been a researcher for the Editorial
                 Board since 2007 and served as the “main” fact-checker
                 in 2017.

                Phoebe Lett was a research, administrative, and
                 editorial assistant for the Editorial Board who
                 performed various administrative tasks and helped with
                 researching and fact checking in 2017. She remains at
                 The Times in a different role.




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7.    Soon after this shooting, Hodgkinson was identified as a Bernie Sanders supporter
      and campaign volunteer virulently opposed to President Trump.

8.    On June 14, 2017, Times Editorial Board Member Elizabeth Williamson wrote
      the first draft of the Editorial.

9.    Bennet revised Williamson’s draft.

10.   At approximately 9:45 p.m. on June 14, 2017, The Times published “America’s
      Lethal Politics” on The Times’s website

11.   On June 15, 2017, The Times published “America’s Lethal Politics” in the print
      edition of the newspaper.

12.   At approximately 11:15 a.m. on June 15, 2017, The Times published a revised
      digital version of “America’s Lethal Politics” and added the following to the end
      of the Editorial:




13.   At approximately 11:15 a.m. on June 15, 2017, The Times’s Opinion Section
      tweeted about this correction.

14.   The Times’s main Twitter account re-tweeted the above tweet.

15.   On June 16, 2017, The Times published a print version of the corrections at the
      bottom of its Editorial Page.

16.   Governor Palin is not seeking to recover and will not claim or assert loss of
      income, job, or other paid opportunities, including losses of book sales or any
      decrease in ad revenue from sarahpalin.com or any other websites.

                                  Documents

1.    The parties waive all objections to the admissibility of documents listed on each
      party’s Rule 26(a)(3) disclosure on the ground that they are duplicates under
      Federal Rule of Evidence (“FRE”) 1002 (originals) and 1003 (admissibility of
      duplicates), except to the extent that the version of a document produced at trial
      varies materially from the original.




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IV.   EACH PARTY’S PARTICULARIZED CONTENTIONS AS TO THE SPECIFIC
      FACTS THAT ARE DISPUTED

      A.     Plaintiff’s Contentions as to Disputed Facts

             The following are facts Plaintiff asserts which she understands Defendants some

      of and dispute the legal significance:

                                      1.       Publication

             Shortly after 7:00 a.m. on June 14, 2017, James Hodgkinson opened fire on

      Republican members of Congress practicing for the annual Congressional Baseball Game

      for Charity, severely wounding Representative Scalise, House majority whip, as well as

      Capitol Police Officer Crystal Griner, congressional aide Zack Barth, and lobbysit Matt

      Mika. The Times published “news reports” about the Scalise shooting soon after it

      occurred and throughout the day on June 14, 2017.

             Later that morning, Times Editorial Board member Elizabeth Williamson raised the

      question of whether the Editorial Board should write about the shooting. After quickly

      researching the shooter and locating his social media pages, which contained pro-Bernie

      Sanders and anti-Trump messages, Williamson circulated this information to Bennet and

      Board members Semple, Fox, and Cohn.

             Initially, Semple was uninterested in writing about a “nut case who hunts

      republicans,” but eventually wanted to pursue a “gun control angle.” At one poiont, Cohn

      mentioned the Giffords shooting. Semple decided at 12:08 p.m. that the Board should

      “shoot for a piece” that would: (1) focus attention on the shooting; and (2) restate the

      longstanding position of The Times’s Editorial Board in favor of gun control.

             Approximately forty minutes after Semple made this decision, Bennet interjected

      with his narrative about “the rhetoric of demonization and whether it incites people to this



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kind of violence” and the “inciting hate speech” he “tended to associate with the right.”

Bennet “thought that [the Board] should deal with this issue of incitement if there was

evidence of inciting hate speech on the Left.” Bennet has conceded that he and the Board

never uncovered any evidence of inciting hate speech on the Left leading up to

Hodgkinson’s shooting.

       Williamson was tasked with writing the piece, and Bennet specifically asked her to

research whether there was a link between incitement and the Loughner shooting and

whether there was any evidence of a link between incitement and the Hodgkinson shooting.

Bennet also told Times researcher Phoebe Lett that he was wondering whether there were

any editorials “connecting to the Giffords shooting to some kind of incitement?”

       As directed by Bennet, Williamson researched Loughner’s shooting and knew she

could not say there was a link between it and the map circulated by Sarah Palin’s political

action committee. She also knew any assertion that there was a clear and direct link

between Gov. Palin and Loughner’s Shooting would be false, so she made no such

assertion in her draft. Bennet conceded that Williamson’s first draft of the editorial

embodied the research he specifically asked her to conduct, and Williamson testified she

wrote her draft consistent with what the research Bennet asked for showed.

       Williamson’s draft included a hyperlink to a January 9, 2011 ABC article by John

Berman, which is a “4 Min read” and in its first multi-sentence paragraph states: “No

connection has been made between this graphic and the Arizona shooting…” At around

4:45 p.m., Williamson emailed her draft to Bennet, Semple, Fox, Frank Clines, and Cohn.

       Bennet then rewrote the piece, significantly changing the passage reflecting the

results of Williamson’s research and replacing it with the defamatory passages. Defendants




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published the false and defamatory passages of “America’s Lethal Politics” online and in

print and promoted the piece on their social media accounts. The Editorial was also

prominently featured on The Times’s homepage.

                            2.      Of and Concerning

       As stated in the Editorial, the map referenced in the defamatory passages was

“circulated” by “Sarah Palin’s political action committee.” This political action committee,

SarahPAC, was formed in 2009 for Governor Palin to promote candidates she supported

and build an organization to support her future political plans. She was the eponymous

figurehead of her PAC, and its publications and related materials prominently featured

images of Governor Palin and her signature.

       The defamatory passages of the Editorial are reasonably understood as referring to

Governor Palin. Among other things, the Editorial refers to Governor Palin specifically by

her full name in the context of the challenged statements. Public reaction to the Editorial

after it was published, including reader comments and emails, social media posts, and

reports and press inquiries by members of the media, demonstrate the defamatory passages

are “of and concerning” Governor Palin.

       The Times’s witnesses confirmed through testimony that the Editorial references

and is about Governor Palin. Hannah Ingber, who worked on with Bennet on the Tweets

about the correction, even referred to the Editorial as the “Sarah Palin editorial.” In emails

on the night of June 14, 2017 and the morning of June 15, 2017, Times columnist Ross

Douthat repeatedly recognized Governor Palin as the subject of the defamatory passages

in the Editorial, including when he told Bennet that “[t]here was not, and continues to be




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so far as I can tell, no evidence that Jared Lee Loughner was incited by Sarah Palin or

anyone else…”

                                   3.      Falsity

       As Bennet and others have conceded several times, the challenged passages about

Gov. Palin in the Editorial are false statements of fact. Defendants admitted falsity in their

correction and Tweets about it:




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       The Times’s correction policy is explained in its Manual of Style and Usage, which

provides:

       corrections. Because its voice is loud and far-reaching, The Times
       recognizes an ethical responsibility to correct all its factual errors,
       large and small (even misspellings of names), promptly and in a
       prominent reserved space in the paper. A correction serves all
       readers, not just those who were injured or complained, so it must
       be self-explanatory, tersely recalling the context and the background
       while repairing the error…If a correction is warranted, it should
       follow immediately…For the handling of more general lapses (those
       of fairness, balance and perspective), see editor’s notes.


The use of a correction as opposed to an Editor’s Note in this instance proves the challenged

statements were false statements of fact, not a legitimate misunderstanding over the

meaning of the word “incite.”

       The night of June 14th, Times columnist Ross Douthat told Bennet the Editorial

was false because “[t]here was not, and continues to be so far as I can tell, no evidence that

Jared Lee Loughner was incited by Sarah Palin or anyone else…” The following morning,

Douthat stated to Bennet: “the point is that the map had no link, none at all, to Gifford’s

actual murder.” In Douthat’s email string with Bennet, he also told Bennet “people

assumed a link initially—there was a Paul K[rugman] column that was particularly vivid

in blaming Republicans—but the investigation debunked it.”

       After the Arizona shooting, law enforcement conducted a thorough investigation,

during which they searched Loughner’s home and seized a letter from a safe in his

basement written by Giffords in 2007 (3 years before the map was created) along with other

materials about his planning of the attack.

       A well-known consensus was reached shortly after Loughner’s shooting that it was

not connected in any way to the map. The Times, The Atlantic (while Bennet was at its



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helm), Wall Street Journal, and Washington Post—all of which Bennet was “regularly

reading” for his news in 2011—were among the major news outlets confirming within days

of Loughner’s shooting that it was not linked to incitement, Palin, or the map in any way.

In fact, The Times wrote about how the media’s rush to judgment in blaming Gov. Palin

for Loughner’s actions should be a teaching moment—an example of how the media’s bias

and “storytelling habits” led them to falsely accuse Gov. Palin of inciting the shooting

when it became known fairly quickly that Loughner was not motivated by anything Gov.

Palin said or did.

       President Obama even made a statement during the Loughner shooting memorial

service that “If, as has been discussed in recent days, their death helps usher in more civility

in our public discourse, let us remember it is not because a simple lack of civility caused

this tragedy—it did not.”

       The Times’s witnesses who investigated the underlying facts surrounding

Loughner’s shooting also confirmed no link between Loughner and the map was

established. Lepping testified “[T]here was a [police] report saying that there was no direct

connection between political incitement and the Loughner shooting.” Cohn testified, “I

know that there was no link established between the [map circulated by Sarah Palin’s PAC]

and the Giffords shooting.” She also testified that as soon as she arrived at work early on

the morning of June 15, 2017, everyone already knew the challenged passages were false

       The second correction admits the Editorial falsely asserted the map placed

crosshairs over individual lawmakers:




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                                4.      Defamatory

       The defamatory passages in the Editorial are actionable without proof of special

damages because they were published in writing and tend to expose Governor Palin to

hatred, contempt, ridicule, or disgrace. Independently, the challenged statements also

(although need not) qualify as defamatory “per se” because they are reasonably

susceptible to a connotation of criminality and/or tend to disparage Governor Palin in her

office, profession, occupation, or trade.

       Bennet used the “very strong” word “incitement” because he “wanted to get our

readers’ attention” and knew the term was used to mean “deliberate orders, invocations,

summonses for people to carry out violent attacks,” and understood as meaning “a call to

violence.” Bennet found inspiration for his narrative about Gov. Palin’s “incitement” of

Loughner in Thomas Friedman’s August 9, 2016 column, “Trump’s Wink Wink to ‘Second

Amendment People,” and its premise that “Donald Trump’s language… could end up

inciting… violence,” akin to the “wave of toxic incitement against [Yitzhak] Rabin,” which

included calls for Rabin’s death prior to his assassination at a peace rally in 1995.

       Cohn understood “incitement” to be “very direct” and meaning “that it—that the

map led him to commit the shooting”              As discussed above, Douthat immediately

understood Bennet’s use of “incitement” to draw a direct connection between Palin and the

map and Loughner’s shooting. Reaction to the Editorial after it was published, including


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       reader comments and emails, social media posts, and reports and press inquiries,

       demonstrate the same.

               When Loughner opened fire at the “Congress on Your Corner” event hosted by

       Congressperson Giffords for her constituents in Tucson, he murdered a nine-year-old girl,

       federal judge, and five other people, and severely wounded thirteen others, including

       shooting Representative Giffords in the head. Aseertin that Plaintiff “incited” these crimes

       subjected Plaintiff to hatred, ridicule, and disgrace. The details of these crimes are laid out

       in law enforcement investigation files about the attack. Loughner was charged with

       attempting to kill a Member of Congress (18 U.S.C. 351(c)); attempting to murder a federal

       employee (18 U.S.C. 1114); use of a firearm in relation to a crime of violence (18 U.S.C.

       924(c)(1)(A); murder of a federal employee (18 U.S.C. 1114); causing a death through the

       use of a firearm (18 U.S.C. 924(j)(1)); causing the death of participants in a federally

       provided activity (18 U.S.C. 245(b)(1)(B)); and injuring participants in a federally

       provided activity (18 U.S.C. 245(b)(1)(B). The “incitement” of these crimes violates 18

       U.S.C. 373.

                                     5.     “Actual Malice”2

               Despite claiming his true intent was to “express concern about the state of political

       rhetoric,” Bennet rewrote Williamson’s draft even though it already said what Bennet

       claims he was trying to convey. If what Bennet claims were true, there was no reason to


2
  Governor Palin asserts the facts in this section without waiving her arguments and positions
against the continued viability and applicability of the actual malice standard under Times v.
Sullivan, as well as her arguments against the application of that standard under New York’s
Anti-SLAPP statute—both of which this Court previously rejected [Doc. No 117 and 125].
Plaintiff preserves these arguments for purposes of any subsequent appeal in this case. Also,
there are a number of disputed facts outlined in the Court’s Order denying summary judgment
[Doc. 117] which, to the extent not specifically referenced herein, are incorporated by reference.


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make any changes.

       Bennet admits reasonable readers understand “incitement” to mean a “call to

violence.” He also knew “rhetoric” and “incitement” have different meanings, and even

changed the word “incitement” to “rhetoric” in the second correction. Bennet’s own

definition of “incitement,” a “very strong word,” originates from “incitement” leading to

violent attacks, such as the assassination of Rabin. Bennet admitted Friedman’s article

about incitement leading to Rabin’s assassination was a driving force behind his choice of

language. Bennet also knowingly used the word “incitement” in the context of the Scalise

shooting under the title “Lethal Politics.”

       The title’s reference to “Lethal Politics” in conjunction with the word “incitement,”

which Bennet admittedly knew to mean “deliberate orders, invocations, summonses to

carry out violent attacks,” clearly demonstrates Bennet intended to convey to readers that

Gov. Palin incited Loughner to shoot and murder innocent people. Cohn new exactly what

“incitement” meant: “that it – that the map led him to commit the shooting.”

       Bennet specifically instructed Williamson to research whether there was any

established link between incitement and Loughner’s shooting. Bennet conceded, and

Williamson confirmed, her draft embodied the results of her research. Thus, Bennet knew

there was no link to incitement but rewrote the draft anyway to say one existed – consistent

with the narrative he already decided to publish.

       Bennet’s claim that he cannot recall whether he read news reports and posts

confirming no link existed lacks credibility. Bennet is a very intelligent person with a good

memory and conceded he “regularly” read The Times and “consumed” The Atlantic’s

website in 2011, even admitting he “must have read” some of The Atlantic’s articles about




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       Loughner and spoke with Andrew Sullivan about the shooting. If a “direct” and “clear”

       link had been made between Palin’s map and the Loughner shooting, Bennet agreed that

       would have been something he would have known because the Loughner shooting was a

       “very big story” and political discourse and gun control were two of Bennet’s hot button

       issues

                Bennet “was a regular reader of The Atlantic’s website both because [he] was

       interested in it as a reader and because [he] would try to keep [his] eye on it for purposes

       of commenting to our editor about what [he] liked and didn’t like.” Bennet also regularly

       read Andrew Sullivan’s The Dish, published on The Atlantic’s website3, and recalled

       Sullivan writing about Sarah Palin. Sullivan live-blogged about the Loughner shooting on

       The Atlantic’s website and posted several other pieces about the shooting which denounced

       any “link” between Palin and Loughner’s crime

                As noted above, soon after the Loughner Shooting, Bennet received a potential

       article and hyperlinked story (“How the media botched the Arizona shooting”) which, like

       a Times article written at the same time, discussed the false narratives of incitement

       surrounding the Loughner shooting and explaining how journalists to falsely concluded

       Palin incited Loughner’s crimes.

                Bennet also received daily email updates for pieces posted by The Wire on The

       Atlantic’s website, as well as “Daily News Roundup” emails containing relevant news



3
  The Dish was “integrated” into The Atlantic’s website –it was “digitally present[ed] as part of
the Atlantic.com [and] …its audience would be credited -- as part of The Atlantic's network of
sites”—and The Atlantic “took responsibility for the production, meaning, the digital production
of the site… mean[ing] maintaining the links, maintaining the archive, and so forth, and at the
same time had the ability to sell advertising on the business side against the content that -- and
the page views that [The Dish] was producing.


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stories posted on The Atlantic’s website. The January 10, 2011 article, “What We Know

about Jared Lee Loughner,” posted on The Atlantic’s website notes, “He Was More

Delusional Than Political… Jared Lee Loughner appeared to be more driven by a

delusional mind than a real interest in politics, mental health experts said Sunday.” The

article also references and hyperlinks The Times’s January 9, 2011 article, “Suspect’s Odd

Behavior Caused Growing Alarm” an in-depth report about Loughner’s behavior and past.

A year-ending piece, “Ten Days That Defined 2011,” that ran on The Atlantic’s website

recognized that it was wrong to link Gov. Palin to the Loughner Shooting:

         In a meta media sense, the bad thing to come out of this already
         terrible story was a round of blame hurling, with people rushing to
         point at Sarah Palin’s infamous target map or Loughner’s left
         seeming (but not really) anti-Bush sentiments. In truth, Loughner is
         clinically insane and this was not really about politics at all. That
         many, including us, immediately jumped to that conclusion says
         some pretty sorry things about the state or our political machine.

Bennet conceded at his deposition that “it’s possible” he read “Ten Days That Defined

2011.”

         Bennet injected his narrative after seeing the shooter’s pro-Sanders social media 40

minutes after the decision was already made to write about gun control. He rewrote the

piece because Williamson’s version didn’t advance his narrative. Bennet pursued his

narrative based on a “pattern” of incitement he knew did not exist and ignored the results

of Williamson’s research so he could advance it. Bennet pursued his narrative and

disregard the truth for several reasons, including his personal biases, agenda, and “political

scorekeeping.” Bennet purposefully avoided the truth, ignoring Williamson’s research and

failing to read any of the research conducted and ABC article in the hyperlink, so he could

advance his narrative.




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         From the outset, Bennet was predetermined to use the Loughner Shooting as

“political incitement” to counterbalance the fact that Hodgkinson was pro-Sanders and

anti-Trump, and recent criticism over the Kathy Griffin Trump-beheading situation and

The Times’s sponsorship of the Shakespeare in the Park production featuring Trump as

Cesar.

         Bennet already knew that there was no established connection or link between

political rhetoric or “incitement” and Loughner’s shooting, let alone any “clear” and

“direct” link between Gov. Palin or the map and Loughner’s horrific crime, but he already

had made up his mind that “hate-type speech” needed to be used to counter-balance the

Left’s rhetoric leading up to Hodgkinson’s attack on Republican lawmakers.

         At Bennet’s request, Williamson specifically researched whether there was a link

between the Palin map and Loughner shooting and whether there was any evidence of a

link between incitement and the Hodgkinson shooting. Eventually, Lett and Williamson

also looked to see whether they could find the piece about “hate-type speech” Bennet

referenced in an earlier email, although Williamson had no idea what Bennet meant by that

term. In response to an email from Williamson about Bennet’s request, Lett emailed

Bennet asking, “I’m trying to find the piece Elizabeth is referring to here, do you happen

to know which one she is talking about?” Bennet responded to Lett (not Williamson)

asking, “No—I was just wondering if there was such a piece; that is, did we ever write

anything connecting to the Giffords shooting to some kind of incitement?” Lett replied to

Bennet’s email by forwarding him a link to a Frank Rich column “No One Listened to

Gabrielle Giffords.” Bennet responded to Lett by saying “Good for Us. Can you let

Elizabeth [Williamson] know?”




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       Although Bennet testified that he doesn’t recall what he meant by “Good for Us,”

this statement demonstrates Bennet was glad because he felt he was free to advance his

preconceived narrative. Bennet followed up by asking Lett to send him the four basic gun

control pieces Semple asked Lett to send to Williamson, but Bennet claims he does not

recall whether he read all these materials Lett sent him. Later, Bennet asked Lett to “dig a

little further” because it “seemed strange” to him that the Editorial Board had not

“editorialized at all about the [Loughner] shooting…because it was an important news

event and the kind of thing we would typically editorialize on.” Lett found 2 additional

Editorials (“Bloodshed and Invective In Arizona” and “As We Mourn”), but Bennet claims

he does not recall reading those pieces either. Notably, the “As We Mourn” editorial

discusses President Obama’s speech about Loughner’s shooting and statement that

Loughner’s shooting cannot be blamed on rhetoric.

       Bennet had ample time to click on the hyperlink and review the ABC article, but

chose not to. He made his first change to the operative paragraph of Williamson’s draft at

6:39 p.m. and had re-written that paragraph and the following one to include the

defamatory statements by 6:58 p.m. As noted in the byline of the ABC Article, it would

at most only have taken 4 minutes to read that entire article.

       At around 5:00 p.m., Cohn took Williamson’s draft to Bennet’s office and spoke

with him about it because she (like everyone else besides Bennet) was not sure what he

wanted in the piece:

       I sort of remember standing in front of his glass door, you know,
       opening up the door or something, and saying, “You need to look at
       this.”…I recall thinking I wasn’t really sure if its what he wanted. I
       thought there had been quite the confusion over the day as to where
       this piece was headed, as to be either more of a gun control piece or
       to be more of a piece about the political climate and the sort of lack



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       of civility in America’s political discourse...I wasn’t sure what
       James intended, wanted in the piece. I wasn’t sure if the piece
       worked…I wasn’t sure it accomplished what James would want it
       to accomplish…there were a couple competing ideas about the
       piece…

       Cohn testified that when she went to Bennet’s office to raise her concerns about the

piece, Bennet responded by saying something along the lines of, “yeah, it needs some work,

I’ll do it.” At that point, Bennet rewrote the editorial consistent with his preconceived

narrative expressed in his earlier email (that draft “wasn’t exactly accomplishing the

objective that we had set out to achieve,” so Bennet “effectively re-wrote the piece.”).

       In doing so, Bennet knowingly re-wrote the paragraph that embodied the results of

Williamson’s research, replacing it with his preconceived narrative, including the

defamatory statements. As an experienced editor, Bennet knew and understood the

meanings and significance of the words he used. Bennet sent his rewrite to Williamson at

around 7:30 PM—leaving plenty of time for him to check his facts before publication.

Bennet was responsible for fact-checking the portions of the editorial he re-wrote.

       An editorial is not “hot news,” and The Times had other editorials on deck to run

instead of the Editorial. Plus, the Hodgkinson shooting was already being covered by The

Times newsroom. Cohn testified the “goal” was to get it in the next day’s print paper but

there were already at least two or three other editorials scheduled to run the next day that

could have been run instead. The Editorial could have waited until the following day to

make sure it was accurate—if Bennet had actually cared about its accuracy. Regardless,

there was plenty of time to read the research Bennet requested and read the source

Williamson included in her draft.




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       Bennet admittedly failed to follow The Times’s heightened journalism standards

and never fact-checked his re-write; even going so far as to ignore the results of

Williamson’s research and all the other materials his colleagues sent for him to review on

June 14, 2017.

       The Times admittedly holds itself to a higher standard of care with respect to

seeking and publishing the truth. The Times holds itself to “the highest standards of

journalistic ethics.” The Times’s journalism standards apply to the newsroom and opinion

section alike. (“These guidelines generally apply to all members of the news and editorial

departments whose work directly affects the content of the paper…”)] In June 2017, The

Times and Bennet were bound by The Times’s Ethical Journalism Handbook of Values

and Practices for the News and Editorial Departments and the Guidelines on Integrity.

       When it comes to facts—verifiable pieces of information—editorials are no

different than any other article in The Times—the Editorial Board’s policy is that if

something is represented as a fact, it has to be correct. The Times’s Editorial Department

“ensures” facts are correct “[t]he same way the newsroom does, by reporting.” The

Editorial Board relies upon the news pages of The Times (and other papers) for facts to

support editorials.

       Editorial Board writers have the first and primary responsibility for fact-checking,

although they are “backed up” by the editors who edit their editorials, staff researchers and

copy editors. With respect to the Editorial at issue in this case, Bennet was responsible for

fact-checking the portions he re-wrote.

       The relevant policies governing The Times and Bennet from the Ethical Journalism

Handbook provide:




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                    A. “DUTY TO READERS”: “In print and online, we tell our readers

            the complete, unvarnished truth as best we can learn it. It is our policy to correct

            our errors, large and small, as soon as we become aware of them. ]

       B.      “FAMILY TIES”: A spouse or companion who runs for
               public office would obviously create the appearance of
               conflict for a political reporter or an editor involved in
               election coverage. A brother or daughter in a high-profile
               job on Wall Street might produce the appearance of conflict
               for a business reporter or editor…To avoid such conflicts,
               staff members may not write about people to whom they are
               related by blood or marriage or with whom they have close
               personal relationships, or edit material about such people or
               make news judgments about them.

       The Guidelines On Integrity provide that “it is imperative that The Times and its

staff maintain the highest possible standards” and practice daily journalism which must be

“beyond reproach” including the following specific practices:

               a.      Fact Checking: Writers at The Times are their own principal fact

       checkers and often their only ones…If deadline pressure requires skipping a check,

       the editors should be alerted with a flag like “desk, please verify,” but ideally the

       writer should double back for the check after filing; usually the desk can

       accommodate a last-minute repair…

       b.      Corrections: Because our voice is loud and far-reaching,
               The Times recognizes an ethical responsibility to correct all
               its factual errors, large and small…any complaint should be
               relayed to a responsible supervising editor and investigated
               quickly. If a correction is warranted, fairness demands that
               it be published immediately. In case of reasonable doubt or
               disagreement about the facts, we can acknowledge that a
               statement was “imprecise” or “incomplete” even if we are
               not sure it was wrong.




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        Bennet confirmed he and The Times followed the policies embodied in The Times

Ethics Handbook and Guidelines on Integrity in June 2017.                Ultimately, Bennet

acknowledged he is responsible for the accuracy of every editorial published by The Times,

particularly the editorials which he authors and edits.       Bennet’s failure to adhere to

journalistic standards was used as the justifications for ending his employment in June

2020, after The Times’s increasingly liberal staff revolted over a highly controversial

column Bennet approved for publication but later admitted he never reviewed.

        Defendants published the challenged statements about Plaintiff knowing they were

false or, at minimum, in reckless disregard of their truth, purposefully avoiding information

easily demonstrating the falsity of the statements, in part because of bias and ill-will toward

Plaintiff and her politics.

        The Times’s Public Editor, Liz Spayd, acknowledged that The Times’s coverage

“is in fact biased” and that “the Opinion section [] promotes the columns and editorials of

its mostly liberal writers.” As one example, a Times’s gun control editorial Spayd

mentioned (“End the Gun Epidemic in America”) was published December 15, 2015 and

ran on the front page of the newspaper—the first time an editorial has such placement since

1920.

        Defendants are also biased when it comes to the Second Amendment and gun

control, publishing numerous pieces and a book about the subjects. Bennet was “very

concerned [about] the epidemic of gun violence,” and gun control is “important to [him]

personally. Bennet’s bias runs so deep that he openly admitted never calling out the Left

for employing the same type of “rhetoric,” images, and terminology he attacked Gov. Palin




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for using. For example, he does not consider a bullseye map “targeting” Republicans

posted by Democrats “incitement.”

       Defendants have a history of bias against Sarah Palin. Bennet described Palin as

“in over her head,” “lacking sufficient preparation,” and “polarizing.” Bennet hied Andrew

Sullivan because of his controversial, polarizing, style, which increased The Atlantic’s

traffic by 50% (1 million to 2 million unique visitors), including through regular, vicious

attacks against Sarah Palin—the worst of which was “Trig-Trutherism,” an ongoing

campaign maintaining Governor Palin is not actually the mother of her son, Trig. Within

The Times, Palin was seen as a convenient target for attacks against conservative policies

and a subject likely to spark readership interest, as described by Charles M. Blow in his

column “She Who Must Not Be Named.”

       Bennet’s bias also stems from family ties. His grandfather was an aid to Chester

Bowles and served as an economic adviser in the Roosevelt Administration. His father

was a Washington insider with an esteemed career in politics, journalism, and the

educational field. Bennet shined at the prestigious St. Albans School in Washington D.C.

and Yale before interning for Sen. Tom Eagleton. Bennet’s brother, Sen. Michael Bennet,

served in the Clinton Administration, worked in the Clinton White House, and was national

co-chair of President Obama’s re-election campaign. Bennet is close with his brother, and

edited speeches for and traveled with him for the last 2 weeks of his 2010 Senate campaign.

       Bennet’s brother was running for re-election in 2010 when the map of targeted

electoral districts, which including two districts in Sen. Bennet’s home state, circulated.

On January 6, 2011—two days before the Loughner Shooting—a man called Sen. Bennet’s

offices and threatened to “come down there and shoot you all.” Following additional




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threats, the man was arrested (two days after the Loughner Shooting). The FBI placed

additional security at Sen. Bennet’s home and Denver office. Bennet knew about the

threats made against his brother, which were also reported by The Atlantic in an article

also disclosing the family connection between Bennet and his brother.

       Both Bennets are outspoken advocates for gun control. Bennet hosted a gun control

forum attended by Gabby Giffords and Mark Kelly (Americans for Responsible Solutions).

Sen. Bennet was endorsed by Rep. Gabrielle Giffords’ PAC, Americans for Responsible

Solutions, a gun control political action committee. Bennet and the Editorial Department

regularly received emails from Giffords PAC and used its website as a resource for

conducting research in support of their gun control positions. Sen. Bennet gave a floor

speech on gun control on June 15, 2016 as of a filibuster after the Pulse Nightclub shooting.

Sen. Bennet’s floor speech occurred the same day James Bennet’s Editorial Board

published an editorial about the Pulse Nightclub shooting and was also circulating drafts

of a book about political rhetoric and Sarah Palin.

       Bennet’s purposeful avoidance of the truth also stemmed from A.G. Sulzberger’s

directives for Bennet to stir controversy to drive readership and revenue. Among other

things, Sulzberger lauded Bennet for his hiring of Michelle Goldberg, Brett Stephens, and

Bari Weiss. Sulzberger also told Bennet to “move faster, take bigger risks, and play more

aggressively outside your lanes,” and that he wanted “more” of what occurred in 2017,

instructing Bennet to “[a]sk for forgiveness, not permission…[because] you enjoy much

more autonomy and a much bigger tolerance for risk…[which] should give you the blessing

to move faster or to make changes that are more disruptive,” and also told him to “play




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outside you lanes a bit more often.” Bennet stoked numerous controversies during tenure

at The Times:

                                  Bret Stephens hiring was very controversial and resulted in

                several factually inaccurate columns that garnered significant attention and

                had                           to                           be                      corrected.



                                  Michelle Goldberg was another controversial Bennet hire

                who wrote a book review the day she was hired that was plagued with

                factual       errors    for        which      a     correction    had     to   be     issued.



                                  Bari Weiss was another very controversial Bennet hire

                involved         in      several           controversies         and     factual      errors.



                                  Bennet “hired” Quinn Norton but she never actually started

                working in the opinion department after public outrage over her “pattern of

                tweeting activity” Bennet begrudgingly admitted was “racist” led to

                Bennet’s               employment                  offer         being         “rescinded.”



                                  Bennet also stoked controversy by hiring Sarah Jeong, who

                like Quinn Norton had a pattern of tweeting activity deemed by many to be

                “racist,” although her employment offer was not rescinded because her

                tweets            were                  directed           at          white         people.




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                 Bennet’s tenure was also marked with publishing
                  controversial pieces by the likes of Louise Mensch and Erik
                  Prince.

           The events leading up to the publication of the Editorial also reflect the growing

bias, ill-will, and animosity toward Governor Palin and need for “political score-keeping”

that led Defendants to publish the challenged statements despite their known and obvious

falsity:

                                In January of 2016, Gov. Palin endorsed Donald Trump for

                  President, following which The Times’s Opinion pages referred to her as a

                  “Rage                                                         Whisperer.”



                                On June 7, 2016, Sarah Palin endorsed Republican

                  candidate Darryl Glenn in Sen. Bennet’s senate re-election race in

                  Colorado.



                                On June 13, 2016, after the Pulse Nightclub shooting

                  occurred in Orlando, the Editorial Board published the editorial “What

                  Donald Trump Gets Wrong About Orlando,” which railed on Republicans

                  for opposing gun control and causing “America’s gun-violence epidemic.”



                                On June 15, 2016, Times’s CEO Mark Thompson emailed

                  Bennet an extract from his book, “Enough Said,” which Bennet then

                  forwarded to Times’s deputy Op-Ed editor James Dao (“The good news is




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           that it’s a book on political rhetoric”). The first chapter is devoted to Sarah

           Palin and rhetoric.

                           That same day, Se, Bennet gave his Floor Speech on gun

           control         as    part        of      the     Democratic        filibuster.



                           On August 9, 2016, Friedman wrote his column “Trump’s

           Wink          Wink      to           ‘Second     Amendment          People.’”



                           On August 24, 2016, Rep. Giffords’ Americans for

           Responsible Solutions PAC endorsed Sen. Bennet in his senate re-election

           race.



                           Soon after Trump was elected, on November 13, 2016, The

           Times published a letter to its readers pledging to “rededicate themselves to

           The Times “core mission.” The same day, The Times engaged directly with

           President                    Trump                on                  Twitter.



                           On December 17, 2016, Bennet ordered the Book, “The

           Persecution of Sarah Palin: How the Media Elite Tried to Bring Down a

           Rising Star.”

                           In early 2017, The Times embarked on its “Truth”

           advertising campaign and capitalized on refocusing its coverage to promote




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            its                        “subscription                          strategy.”



                          On February 7, 2017, Brent Staples emailed Bennet about

            concern and nervousness about anxiety within the Editorial Department,

            specifically mentioning “a right-wing propaganda tweet [from] Sarah Palin

            claiming The Times was desperately renting out floors because it was

            failing.”



                          In May 2017, Kathy Griffin posted a photo of herself holding

            a bloody severed head of President Trump, which drew widespread media

            attention.



                          In early June, 2017, The Times eliminated its Public

            Editor—a position that essentially served as a watchdog and held it to

            account. As she was being ousted, Public Editor Liz Spayd noted that The

            Times’s elimination of its Public Editor position showed the paper’s move

            away from “institutional integrity,” demonstrated an unwillingness to

            seriously listen to criticism and doubt the impulses and wisdom of its inner

            sanctum, and was leading to “morph[ing] into something more partisan,

            spraying ammunition at every favorite target and openly delighting in the

            chaos.”



           In the days leading up to the June 14, 2017 shooting, The Times was at the
            center of public criticism for its sponsorship of a Shakespeare in the Park


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                production of Julias Cesar depicting Trump as Caesar, asother sponsors
                withdrew over public outcry that the play was a form of incitement.

        Even after Bennet’s false narrative was quickly identified by his colleagues and

members of the press, he and The Times steadfastly refused to meaningfully correct the

Editorial or apologize to Governor Palin. Defendants’ half-hearted corrections were due

to public backlash and embarrassment, and did not adequately address the libelous

statements they published about Governor Palin.

        The edits to the Editorial did not remove the entirely unnecessary reference in the

piece to Gov. Palin, even though there was no established connection between “political

incitement” and Loughner’s crime or Hodgkinson’s shooting. Even after being revised,

the Editorial still suggests that a link exists or might still be established, which led Bennet’s

own colleagues to question why Palin was still being mentioned at all. Cohn testified that

the International Edition of the Editorial, which was trimmed to remove any reference to

Governor Palin, adequately conveyed the points the Board wanted to make in the piece.

Given that Mr. Bennet’s entire thesis in re-writing the Palin Article was supposedly the

“sickening pattern” of politically incited violence that did not exist, the entire Editorial (or

at least all references to Governor Palin) should have been retracted—not minimally and

inadequately corrected.

        Even after the second correction, Bennet refused to recede from his preconceived

narrative, despite Wegman pointing out that keeping any reference to Palin in the Editorial

was still trying to “sneaking the link in.” Instead, Bennet reaffirmed his allegiance to his

narrative in a statement provided to and published by CNN, in which he said:

        While it is always agonizing to get something wrong we appreciate
        it when our readers call us out like this. We made an error of fact




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       in the editorial and we’ve corrected it. But that error doesn’t
       undercut or weaken the argument of the piece.

       Bennet later revealed that he would not apologize to Governor Palin because The

Times has a policy prohibiting apologies, although there is nothing in writing to this effect.

Regardless, Bennet agreed that he never personally reached out to Governor Palin to

apologize either.

       The Times’s June 16, 2017, inadequate corrections published at the bottom of its

Editorial Page, in fine print was equally deficient. This correction was completely devoid

of any reference or apology to Governor Palin.

                                  6.     Damages

       The Editorial Board represents the “loud and far-reaching voice” of The Times.

The Times is regarded as the “Paper of Record,” which reflects the considerable weight

and influence attributed to its “voice.” The Times actively promotes content in several

ways, such as on its social media accounts (i.e. Facebook and Twitter), homepage, through

news alerts and newsletters, and similar strategies.

       The impact of Defendants’ defamatory statements about Governor Palin were made

within the context of The Times’s pledge to rededicate itself to accurate reporting and

publishing “the complete, unvarnished truth as best we can learn it.” The editorial was

published in the midst of The Times’s advertising campaign, “The Truth Is Hard,” which

debuted at the Academy Awards and Bennet promoted on his Twitter account. The Times

used its commitment to publishing the “Truth” to convince the public about the accuracy

of the facts it published and to buy subscriptions: (“Support fact-based journalism” by

subscribing to The Times because “Truth. It has no alternative… it comes at a cost…

[and]… It’s hard to find. But easier with 1,000+ journalists looking.)            The Times



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prominently featured its “The Truth is more important now than ever” ads on billboards in

Manhattan and online.

       Plaintiff seeks to recover damages for reputational harm, humiliation,

embarrassment, and mental anguish. These types of damages do not lend themselves to

precise calculation and will be determined by the jury based on what is fair and just. See

N.Y. Pattern Jury Inst. – Civil § 3.29; Maleski v. Long Island Railroad Co., 499 F.2d 1169

(2d Cir. 1974). Plaintiff also seeks damages for the cost of reputational repair or correcting

the defamatory statements in the approximate amount of $421,000, which is supported by

the testimony of her expert witness, Craig Kronenberger, and other documents and

evidence, such as The Times’s advertising rates and internal data related to the publication

of the Editorial. Plaintiff also seeks to recover punitive damages, the amount of which

have not been determined and falls within the jury’s discretion. N.Y. Pattern Jury Instr. –

Civil § 3.30. Plaintiff also seeks recovery of her attorneys’ fees and recoverable costs.

 7.      Plaintiff’s Position On Defendants’ Disputed Facts About The Map

       The map circulated by Sarah Palin’s political action committee was created by an

Internet consultant and staffer using symbols “pulled from Google mapping tools” to depict

20 congressional districts “that went for McCain-Palin but were represented by Democratic

members.”

       Defendants’ contentions about the “Don’t retreat. Reload” tweet are irrelevant

because (1) Bennet testified he was not was not even aware of this Tweet; (2) Bennet

testified he was not aware of Governor Palin’s use of this phrase when he wrote and

published the defamatory the Editorial; and (3) Bennet testified he did not consider

metaphors such as this used in politics to be “incitement.” [Bennet Depo 98:19-99:13,




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102:11-23] Without waiving Plaintiff’s objections to this evidence, Plaintiff also disputes

Defendants’ interpretation of the Tweet. The expression “Don’t retreat. Reload” is “an

old saying of [Gov. Palin’s] dad’s…a retired teacher and coach…that’s where he would go

with motivation…” and was never meant as an allusion to a gun, “Not at all. ‘Don’t retreat,

reload,’ means don’t back down, don’t let them tell you to sit down and shut up just because

they have the power of the pen or whatever they—whatever they want to use to make you

stop what you’re doing if what you’re doing is right. Don’t let them. Don’t retreat.”

       Defendants’ contentions about another Tweet involving a “bullseye” are also

irrelevant, and similarly misconstrue the facts. The Tweet does not characterize the map

as placing a “bullseye” on lawmakers. Rather, Governor Palin testified she put the word

“bullseye” in quotes because she used it “facetiously or, like, that’s what they say, that’s

what they call it. But it wasn’t hey, these are bullseyes, somebody go out and get an

individual…I always put quotation marks around it to say this what somebody else says”

       Defendants’ contentions concerning attacks supposedly occurring after the map

was circulated are also wrong and irrelevant. Rep. Giffords’ office was vandalized early

(2:40 a.m.) on the morning on March 22, 2010—before the map was posted on March 23,

2020. [“Rep. Giffords’ Tucson office vandalized after health care vote” Arizona Daily

Star, Mar. 22, 2010 (“The front door was smashed out at Congresswoman Gabrielle

Giffords’ congressional office last night.”); March 23, 2010 10:18 a.m. “Don’t Get

Demoralized! Get Organized! Take Back the 20!” Tweet); “Vandalism reported at offices

of three Democrats [including Giffords]”, CNN, Mar. 22, 2010 (discussing vandalism

before map posted); “Vandals Attack Dem Offices Nationwide,” Talking Points Memo,

Mar. 23, 2010 9:00 a.m. (compiling list of vandalism occurring before map was posted)]




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               Other vandalism during that time period was directed at Representatives not

       identified on the map (i.e., Rep. Carnahan (Missouri); Rep. Louise Slaughter (New York);

       Democratic Party offices (Wichita, Cincinnati, Rochester); Rep. Bart Stupak (Michigan)),

       and appear to have been inspired by Alabama blogger, Mike Vanderboegh, a “longtime

       leader and propagandist in the antigovernment ‘Patriot’ movement specializing in fiery

       rhetoric” who encouraged his followers to “Break [Democrats’] windows.” In January

       2011, Mother Jones reported that “Giffords Office Was Vandalized by Followers of

       Former Militia Leader [Vanderboegh]”

               The “controversy” Defendants contend surrounded the map after the Loughner

       shooting was quickly resolved, long-before June 14, 2017. As Ross Douthat explained to

       Bennet on the night of June 14, 2017, “people assumed a link initially—there was a Paul

       K[rugman] column that was particularly vivid in blaming Republicans—but the

       investigation debunked it.”. Speculation may have occurred in the days immediately after

       Loughner’s shooting, but a consensus was quickly reached that Loughner’s shooting was

       not incited by Governor Palin or linked to the map. The Times, The Atlantic (while Bennet

       was at its helm), Wall Street Journal, and Washington Post—all of which Bennet was

       “regularly reading” for his news in 2011—were among the major news outlets confirming

       within days of Loughner’s shooting that it was not linked to or incited by Gov. Palin or the

       map.

       B.      Defendants’ Contentions as to Disputed Facts

       Plaintiff’s above contentions as to disputed facts are inaccurate, inflammatory, and

contain assertions of fact that are unfounded, irrelevant, and unduly and unfairly prejudicial and




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for that reason, are the subject of Defendants’ motions in limine. The following are facts that

Defendants assert and will establish at trial, and that Defendants understand Plaintiff disputes:

               1.      The Crosshairs Map

       Palin denied at deposition that the crosshair symbol on the Crosshairs Map represented a

gun sight, but she had described it shortly after publication as a “bull’s eye,” and, in the same

period, “issued her now oft repeated rallying cry” to opponents of so-called “Obamacare”:

“Don’t retreat. RELOAD.”

       At around the time of publication of the map, violent attacks on the offices of several

Representatives it identified, including that of Giffords, led to a substantial national debate about

the potential of such inflammatory rhetoric to incite those “on the fringe of the movement.” At

the time, Giffords said on national television “when people do that, they’ve got to realize there

are consequences to that action.” After the Arizona Shooting, there soon followed a renewed

public controversy about the Crosshairs Map and whether it contributed to Loughner’s attack on

Giffords.

               2.      The Drafting Process Demonstrates no Focus on Gov. Palin

       At around 10:45 a.m. on June 14, 2017, hours after the Virginia Shooting, Elizabeth

Williamson, a writer for The Times’s Editorial Board who was based in the District of Columbia,

inquired of her New York-based colleagues via email whether the Board intended to write about

the shooting. Williamson, Semple, Cohn, and to a lesser extent Bennet, discussed by email

whether the proposed piece should focus on the horror of the shooting itself, the Board’s long-

held position in favor of sensible gun control regulation, or “concern about the state of political

rhetoric in the country.” During that email exchange, Cohn pointed out one difference she

perceived between the responses to the Virginia Shooting and the Arizona Shooting a few years

earlier, observing that she was “thinking back to what a giant story [G]abby Gifford[s’] shooting


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was. Amazing that shooting congressmen doesn’t seem so shocking now.”

                       (a)     Research

       Around noon, Semple decided that the Board should write a piece on the shooting, and

Williamson began researching and drafting. Initially, Williamson researched breaking news

relating to the Virginia Shooting to “keep [herself] apprised of what authorities knew.” She also

familiarized herself with the Arizona Shooting, which had occurred years earlier. Semple, who

suggested focusing on gun control measures, asked an Editorial Assistant, Phoebe Lett, to send

several “basic gun control pieces” to Williamson. Lett circulated four past editorials relating to

gun policy, which incidentally referenced the Arizona Shooting and other notable shootings that

had prompted policy debates.4

       Bennet, who had suggested in an email that there might be “a point to be made about the

rhetoric of demonization and whether it incites people to this kind of violence,” asked

Williamson to be mindful of whether such rhetoric came from both sides of the political

spectrum. He also wanted to know whether there was “some evidence of a piece of incitement

… that was directed at the ball players, the Congressmen who were playing ball that day.”

Bennet did not, prior to publication of the Editorial, ask Williamson or anyone else to research

the Arizona Shooting and/or determine whether Loughner had been motivated by politics

generally, or the Crosshairs Map specifically.

       Plaintiff repeatedly asserts or implies in this filing (as she did in her opposition to

Defendants’ motion for summary judgment) that, prior to publishing the Editorial, Bennet



4
 Much of the research focused on prior editorials by The Times, rather than its news reports or
other news organizations’ publications because, as Bennet testified, he assumed that the Board
“had talked about the political climate and I wanted to harmonize whatever we were saying now
with the position the board had taken” previously.


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instructed Williamson to research “whether there was a link between the Palin map and

Loughner shooting . . . .” and to research whether Loughner acted because of political

incitement. This is inaccurate. Bennet first asked Williamson (and Eileen Lepping) to research

whether there was any proof that the map had caused the Arizona shooting the morning after

publication and after Douthat had shared his concerns with Mr. Bennet about the Editorial. See

DX-46. Accordingly, Plaintiff’s argument that actual malice is demonstrated by the fact that

Bennet purportedly ignored Williamson’s research when he revised her draft of the Editorial on

June 14 is baseless.

                       (b)     Initial Draft

       Williamson submitted her draft to her New York-based colleagues via The Times’s

document management system around 4:45 p.m. the day of the Virginia Shooting. Williamson

sought to deliver a message about the dangers of an abundance of guns and the risk that

inflammatory political rhetoric could increase the likelihood that someone would commit a

violent act. As it relates to the language at issue in this case, Williamson’s draft contained the

following passage:

         Just as in 2011, when Jared Lee Loughner opened fire in a supermarket
         parking lot, grievously wounding Representative Gabby Giffords and killing
         six people, including a nine year-old girl, Mr. Hodgkinson’s rage was nurtured
         in a vile political climate. Then, it was the pro-gun right being criticized: in
         the weeks before the shooting[,] Sarah Palin’s political action committee
         circulated5 a map of targeted electoral districts that put Ms. Giffords and 19
         other Democrats under stylized crosshairs.

Williamson drafted the sentence including the reference to “Sarah Palin’s political action

committee.”


5
 In her draft, Williamson inserted at the word “circulated” a hyperlink to a package of on-line
news reports published by ABC. The linked report, published in January 2011 shortly after the
Arizona shooting, is titled “Sarah Palin’s ‘Crosshairs’ Ad Dominates Gabrielle Giffords Debate.”


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       Cohn reviewed the draft and “wasn’t sure if the piece worked,” in part because she found

it unclear whether the piece was focused on gun control or “about the political climate and the

sort of lack of civility in America’s political discourse.” She added questions to the draft and

handed it off to Bennet for his review.

       Bennet agreed that the draft needed substantial revision. He thought that the top of that

draft “read like the kind of piece that the news side was going to do” and he wanted to “capture

the shock and wrongness” of the attack on members of Congress playing baseball. As the

Editorial related to breaking news and the deadline for publication in the next morning’s print

edition was less than three hours away, he began editing it himself. Bennet made substantial

changes to sections of the Editorial with which Governor Palin does not take issue, and he also

edited the above-quoted paragraph from Williamson’s draft and added a further paragraph, as

follows:

       Was this attack evidence of how vicious American politics has become?
       Probably. In 2011, when Jared Lee Loughner opened fire in a supermarket
       parking lot, grievously wounding Representative Gabby Giffords and killing six
       people, including a 9-year-old girl, the link to political incitement was clear.
       Before the shooting, Sarah Palin’s political action committee circulated a map of
       targeted electoral districts that put Ms. Giffords and 19 other Democrats under
       stylized cross hairs.

       Conservatives and right-wing media were quick on Wednesday to demand
       forceful condemnation of hate speech and crimes by anti-Trump liberals.
       They’re right. Though there’s no sign of incitement as direct as in the Giffords
       attack, liberals should of course hold themselves to the same standard of
       decency that they ask of the right.

       Bennet did not intend to convey the idea that the Crosshairs Map directly caused

Loughner to commit the Arizona Shooting. Instead, Bennet used the word “incitement” in a

broad sense, to “talk about a range of communications” “that contributed to intensifying and

raising the temperature of the political debate,” – that is “very, very, strong language that




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describes the person on the other side of the debate as an enemy.”6 And with respect to his use

of the words “link” and “direct,” Bennet was referring to the fact that, prior to the Arizona

Shooting, the Crosshairs Map (which Bennet viewed as an example of “incitement” in the sense

he was using the term), had included Giffords’ name and superimposed rifle crosshairs over her

congressional district.

        After Bennet completed his editing, Editorial Board members Cohn, Williamson,

Wegman, Fox, and Lepping all reviewed this draft. Meanwhile, Cohn and another colleague

worked on fact-checking the draft, including the specific details of Virginia gun laws cited in the

draft, because Cohn knew from her experience that such laws were “ornate and detailed and

different in all the states.”

        Above, Plaintiff suggests that Cohn knew the Editorial was making a false assertion

because Cohn purportedly testified that incitement means, “that it—that the map led him to

commit the shooting.” Plaintiff baldly misrepresents Cohn’s testimony regarding the meaning of

incitement. The full exchange accurately reflects Cohn’s testimony, in which she rejects the

interpretation offered by Plaintiff’s counsel:



6
  Plaintiff repeatedly asserts in this filing (as she did in her opposition to Defendants’ motion for
summary judgment) that Bennet testified that “the term [incitement] was used to mean
‘deliberate orders, invocations, summonses for people to carry out violent attacks,’ and
understood as meaning ‘a call to violence.’” Plaintiff’s assertion is based on a misleading edit of
Bennet’s testimony to remove the parts she does not like. Bennet’s full relevant testimony, from
the Court’s hearing on August 16, 2017, is as follows: “I was thinking about -- the way I view
that particular word from is in my experience in one of my roles at the time that I was a
correspondent in Jerusalem at one point for The Times, and the word ‘incitement’ is used there
by the Israelis -- in my time by the Israelis about the Palestinians but also, to some degree, by the
Palestinians about the Israelis to talk about a range of communications from, you know, to
deliberate orders, invocations, summonses for people to carry out violent attacks to textbooks
that are published that align important facts from the other side's national narrative or history, to
tell outright lies about that history to maps that misrepresent the politics of the region. And that's
specifically where I was drawing that word from.” (emphasis added).


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       Q:      And when you said “incited violence” in this bolded section that we've
               been looking at, at this time on June 14 of 2017, at 5:03 p.m., did you
               believe that the map that Sarah Palin's political action committee had
               circulated had incited Jared Loughner to commit his shooting in 2011?

       A:      I -- no. I -- not that directly. I would think of it more as -- the way you
               phrased it sounds very direct, that it -- that the map led him to commit the
               shooting. I -- no, I did not see that. I saw it as, as one example of the kind
               of heated political rhetoric against which all these sorts of violent
               activities were happening. That it was part of a backdrop of how the
               conversation in this country was becoming heated and often used violent
               imagery (emphasis added).

       3.      Defendants’ Response to Criticism of the Editorial Demonstrates a Lack of
               Actual Malice

       The Times published the Editorial online at approximately 9:45 p.m. Shortly thereafter,

Ross Douthat, an opinion columnist, brought to Bennet’s attention by email around 10:00 p.m.

that evening questions about what he understood the Editorial to be suggesting. Douthat

explained that he understood that there was “no evidence that Jared Lee Loughner was incited by

Sarah Palin or anyone else, given his extreme mental illness and lack of any tangible connection

to that crosshair map.” Bennet responded by email a few minutes later:

         Thanks, and I’ll look into this tomorrow. But my understanding [is] that in the
         Giffords case there was a gun sight superimposed over her district; so far in
         this case we don’t know of any direct threat against any of the congressman on
         the field. That’s not to say that any of it is ok, obviously, or that the violence
         in either case was caused by the political rhetoric. But the incitement in this
         case seems, so far, to be less specific.

Douthat in turn replied by email, explaining his concern about the Editorial as he had understood

it:

         The targets were used by Palin, or her group, in a map of seats targeted for
         pickup in the midterms. You can argue about whether that crosses a line …
         but the point is that the map had no link, none at all, to Giffords’ actual
         murder. People assumed a link initially … but the investigation debunked it. I
         think Loughner was instigated by a non-answer she’d given him at a town hall
         about one of his theories of grammar, or his obsession with lucid dreaming, or
         something. His act had nothing to do with the political climate, so far as
         anyone can tell. Whereas the Alexandria shooter seems to have had an explicit


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         political motivation. So saying that Giffords was a case of incitement and this
         one isn’t reads like we’re downplaying that motive or implying that Loughner
         had right-wing motivations that he simply didn’t have.”

       The testimonial and documentary evidence demonstrates without dispute that no one

involved in the preparation of the Editorial had intended to convey the proposition inferred by

Douthat and others.

       In response to Douthat’s late-night email alerting Bennet to the fact that some readers

were interpreting the Editorial as alleging the existence of a direct causal link between the

Crosshairs Map and Loughner’s attack, Bennet immediately sent a message to Williamson to see

if she was available to begin investigating and, early the next morning, Bennet emailed several

people who had worked on the Editorial to request their help. Bennet, who had not intended to

suggest such a direct causal link and therefore had not considered while writing the sentences

challenged by Palin whether such a link between the Map and Loughner’s actions had been

established, explained in writing to his colleagues that morning that he was unsure whether a

direct connection between Loughner and the Crosshairs Map had been proven or disproven and

asked that they “get to the bottom of this as quickly as possible.”

       Until Bennet reached out to them on the morning of June 15, 2017, Williamson and Cohn

were unaware that the Editorial was being criticized for asserting that Loughner acted because of

the Crosshairs Map. Neither had intended for the Editorial to make that assertion and, at the

point Bennet reached out to them on the morning of June 15th, neither knew whether that

assertion was accurate or not. Both Lepping and Williamson promptly began looking into this

question. Ultimately, they determined that multiple news outlets, including The Times, had

reported that Loughner was mentally unstable and appeared to have developed animosity toward

Giffords prior to SarahPAC’s publication of the Map, but that it had never been affirmatively

proven or disproven whether Loughner was familiar with or inspired by the Crosshairs Map.


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       4.      The Times Promptly Corrects the Editorial Less than 14 Hours after
               Publication

       The Times promptly revised the online version of the Editorial to remove the words that

had caused readers to draw the unintended inference of an assertion that the Crosshairs Map was

a direct cause of the Arizona Shooting, and later to make clear that, on the Map, the crosshair

symbol appeared over Giffords’ district, not over her name or image – though her name was

listed separately. Additionally, The Times published a tweet stating: “We got an important fact

wrong, incorrectly linking political incitement and the 2011 shooting of Giffords. No link was

ever established. We’re sorry about this and we appreciate that our readers called us on the

mistake.”

       5.      Given the Absence of Actual Malice, Plaintiff Seeks to Make this Case About
               Anything But the Editorial

       From the facts surrounding the drafting of the Editorial to the responsive correction and

revision there is a paucity of evidence of actual malice. Recognizing this fatal deficiency,

Plaintiff seeks to make this case about anything but the Editorial. To that end, and as Plaintiff’s

summary above demonstrates, Plaintiff seeks to introduce irrelevant and unduly prejudicial

evidence about the following distractions:

                      Kathy Griffin’s Photo of a beheaded Donald Trump

                      A rendition of Julius Caesar in Central Park

                      Sen. Tom Cotton’s 2020 Op-Ed regarding the Protests Following George
                       Floyd’s Murder

                      Andrew Sullivan’s 2008 assertions about the parentage of Gov. Palin’s
                       son

                      The fact that in 2014 James Bennet attended a forum at which
                       Congresswoman Giffords and her husband were interviewed by someone
                       (not by James Bennet)

                      The 2016 Pulse Nightclub shooting in Orlando, Florida


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                      Sen. Bennet’s Senate floor speech about the Pulse Nightclub shooting

                      Louise Mensch’s 2017 Op-Ed about Russian hacking

                      Threats made against Sen. Michael Bennet that have no connection to this
                       case

                      The Times decision to revamp the “Public Editor” position and the
                       question of whether the Reader Center was an adequate replacement

                      Sen. Michael Bennet’s 2016 Presidential campaign

                      A 2016 book written by Times CEO Mark Thompson about the language
                       of politics that includes a chapter that discusses Gov. Palin’s use of
                       language

                      Bret Stephen’s 2017 column about global warming

                      James and Sen. Michael Bennet’s family lineage

                      Erik Prince’s 2017 Op-Ed about Afghanistan

                      The Times’s liberal bias and position on gun control

                      Bennet’s decisions to hire diverse (and ideologically diverse) writers for
                       the Opinion Section, including Sarah Yeong, Quinn Norton, Bari Weiss,
                       and Bret Stephens

                      Whether President Trump was good for The Times’s business

       6.      Governor Palin Cannot Prove She was Harmed by Publication of the
               Editorial

       Less than two weeks after the Virginia Shooting and the publication of the Editorial,

Governor Palin sued the Times. She has not asserted that she suffered any particular financial or

economic harm from publication of the Editorial, and she affirmatively has stated in the course

of discovery in this action that she is not seeking to recover any such damages. Governor Palin

asserts generally that her reputation was harmed but she concedes that, since publication of the

Editorial, she has not hired a public relations firm or any similar service to help repair the

purported damage to her reputation. Substantial evidence will show that any evidence of




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reputational harm is far-fetched because by the time of publication of the Editorial, Gov. Palin

already was viewed as a controversial figure with a complicated history and reputation, and in

the time since the Editorial was published, Gov. Palin has prospered.

       Governor Palin also seeks compensation for alleged emotional harm. However,

Governor Palin will introduce no evidence whatsoever, other than her own self-serving and

uncorroborated testimony, supporting her claim of alleged emotional harm.

V.     RELIEF SOUGHT BY PLAINTIFF7

       A.      Plaintiff’s Contentions Regarding Appropriate Relief8

       Plaintiff seeks to recover damages for reputational harm, humiliation, embarrassment,

and mental anguish. These types of damages are presumed, do not lend themselves to precise

calculationm and will be determined by the jury based on what is fair and just. See N.Y. Pattern

Jury Inst. – Civil § 3.29; Maleski v. Long Island Railroad Co., 499 F.2d 1169 (2d Cir. 1974);

Rinaldi v. Winston, Inc., 42 N.Y.2d 369, 379 (1977); Carey v. Piphus, 435 U.S. 247, 262-263

(1978); Stem v. Cosby, 645 F.Supp.2d 258, 289 (S.D.N.Y. 2009); Metropolitan Opera Ass’n. v.

Local 100, 2005 WL 1712241, at *4 (S.D.N.Y. Jul. 19, 2005).

       Plaintiff also seeks damages for the cost of reputational repair or correcting the

defamatory statements in the approximate amount of $421,000, which is supported by the

testimony of her expert witness, Craig Kronenberger, and other documents and evidence, such as

The Times’s advertising rates and internal data related to the publication of the Editorial.




7
  Defendants have not asserted any claims or counterclaims and thus do not seek relief in this
action at this time.
8
  Plaintiff incorporates by reference her Memoranda of Law filed contemporaneously herewith in
opposition to Defendants’ Motions in Limine.


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Metropolitan Opera, 2005 WL 1712241, at *4; Den Norske v. Sun Printing and Pub’g Ass’n.,

226 N.Y. 1 (1919); Ahmed v. Kifle, 2015 WL 11199078, *2 (N.D. Ga. Feb. 6, 2015).

       Plaintiff also seeks to recover punitive damages, the amount of which have not been

determined and falls within the jury’s discretion. N.Y. Pattern Jury Instr. – Civil § 3.30.

Prozeralik v. Cap Cities Commc’ns., Inc., 82 N.Y.2d 466, 478 (1993); Celle v. Filipino Reporter

Enters., Inc., 209 F.3d 163 (2d Cir. 2000); Stem v. Cosby, 645 F.Supp.2d 258 (S.D.N.Y. 2009).

Plaintiff also seeks recovery of her attorneys’ fees and recoverable costs. Metropolitan Opera,

2005 WL 1712241, at *5-7.

       Plaintiff’s First Amended Complaint also requests the entry of a permanent injunction

prohibiting Defendants from publishing the defamatory statements in the future. Such

injunctions are legally appropriate and not unconstitutional prior restraints where they are

awarded after an adjudication at a trial on the merits that the challenged statements are false and

defamatory. Rombom v. Weberman, 2002 WL 1461890, at *2 (N.Y. Sup. Ct. Jun. 13, 2002),

aff’d, 309 A.D.2d 844 (Oct. 20, 2003); Brown v. Petrolite Corp., 965 F.2d 38, 51 (5th Cir. 1992).

       In her First Amended Complaint, Plaintiff also sought to recover unjust enrichment or

restitution damages. However, the Court granted judgment on the pleadings against the Plaintiff

on these damages [Doc. 83]. Plaintiff raises her request for these damages here solely for

purposes of preserving it in the event of any appellate proceedings.

       B.      Defendants’ Contentions Regarding Limitations on Relief

               1.      Plaintiff Cannot Assert a Claim for Economic or Special Damages
                       Nor Use Evidence of Lost Opportunities in Support of Claims for
                       Other Damages

       During discovery, Defendants sought information regarding Governor Palin’s income,

arguing that it was relevant to her claim of reputational harm. See, e.g., Def.’s First Set of Reqs.



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to Pl. for the Production of Docs., at Req. No. 14 (“Your federal and state income tax returns, all

related schedules and attachments, and W-2, 1099, K-1 or similar forms”), Req. No. 28

(“Documents sufficient to show website traffic, advertising revenue, and donations to the website

site sarahpalin.com, for the three months prior to publication of the Editorial, and for the three

months following publication of the Editorial.”). Indeed, Defendants ultimately requested that

the Court compel Governor Palin to produce this and related information and materials.

Governor Palin responded that her financial information was irrelevant because she was not

asserting that she suffered economic harm. Ultimately, in a February 26, 2020 ruling via email,

the Court agreed with Governor Palin and denied Defendants’ motion to compel evidence related

to economic damages, including lost opportunities.

       Due to Governor Palin’s assertion that she is not claiming any economic damages, and

the Court’s ruling that she was thus not required to disclose evidence related to economic

damages in discovery, Defendants have not obtained any information about Governor Palin’s

finances, income, or economic opportunities. For instance, Defendants served the following two

requests for admission on Plaintiff: (1) “Admit that you did not lose income as a result of the

publication of the Editorial”; and (2) “Admit that you did not lose any job or other paid

opportunities as a result of the publication of the Editorial.” Pl.’s Resps. and Objs. to Defs.’s

Reqs. for Admiss., at Req. Nos. 23, 24. In response to each, Governor Palin asserted:

       Plaintiff objects to this Request based on the Court’s February 26, 2020
       ruling denying Defendants’ request to compel discovery concerning this topic,
       and because it seeks discovery regarding a matter is not relevant to any party’s
       claim or defense, nor proportional to the needs of the case, and seeks to invade
       Plaintiff’s privacy and the disclosure of private financial information outside the
       scope of permissible discovery. Plaintiff does not seek to recover lost income as
       a result of Defendant’s defamatory publication. Accordingly, the request is
       outside the permissible scope of discovery. Wiesenberger v. W.E. Hutton &
       Co., 35 F.R.D. 556, 557-58 (S.D.N.Y. 1964); Delpilar v. Foodfest Depot, LLC,
       2015 WL 9460141, *1-2 (S.D.N.Y. Dec. 23, 2015). This request is a fishing



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       expedition for private, personal information about Plaintiff that is completely
       irrelevant to this case. Moreover, and subject to the foregoing, Plaintiff is not
       able to admit or deny this Request because she has not determined whether she
       lost income as a result of the publication because she is not seeking to recover lost
       income as an element of her damages.

Id. at Req. No. 23; see also id. at Req. No. 24 (substantively stating same).

       Similarly, Defendants served on Governor Palin the following request for admission:

“Admit you suffered no financial or other economic harm of any kind as a result of the

publication of the Editorial.” Pl.’s Am. Resp. and Obj. to Defs.’s Req. for Admis. No. 27. She

responded:

       Plaintiff objects to this Request to the extent the phrase “financial or other
       economic harm” is undefined, vague and ambiguous, and could be interpreted as
       calling for a legal conclusion. To the extent this Request seeks discovery
       concerning whether Plaintiff has suffered loss of income, job or other paid
       opportunities, book sales, any decrease in ad revenue from sarahpalin.com or any
       other websites, or similar “financial” or “economic harm,” Plaintiff objects
       because this Request is an attempt to circumvent the Court’s February 26, 2020
       ruling denying Defendants’ request to compel discovery concerning this topic.
       Based on that ruling, Plaintiff is not required to respond if the intent of this
       Request is to force Plaintiff to determine and disclose whether she lost income,
       job or other paid opportunities, book sales, any decrease in ad revenue from
       sarahpalin.com or any other websites, or similar “financial” or “economic harm,”
       as a result of the Editorial. See also Plaintiff’s Responses to Requests 23-26.

       For sake of clarity, Plaintiff admits she is not seeking to recover and will not
       claim or assert loss of income, job or other paid opportunities, book sales, any
       decrease in ad revenue from sarahpalin.com or any other websites, or similar
       “financial” or “economic” harm as a result of the publication of the Editorial.

       However, to the extent the phrase “financial or other economic harm” is defined
       or can be interpreted as including the damages Plaintiff seeks to recover for
       reputational repair/the cost of correcting or counteracting the injurious effects of
       the Editorial—which are in the nature of a pecuniary or “financial” loss and
       supported by the expert opinions of Craig Kronenberger—Plaintiff denies this
       Request.

Id. (emphasis added).

       Once again, during Defendants’ deposition of Governor Palin, Defendants sought to ask

questions about her claimed damages. In response, Plaintiff’s counsel refused to let her answer


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any such questions. See, e.g., Tr. of May 20, 2020 Dep. of S. Palin, at 103:8-20. The following

exchange is one example:

       MR. AXELROD [Defendants’ counsel]: Shane, I’ve asked her how she was
       harmed. If she claims business opportunities, people[] shied [a]way. . . .

       MR. VOGT [Governor Palin’s counsel]: She’s not – she’s not

       MR. AXELROD: I’m entitled -- these are relevant questions about harm, and
       you’re [sic] client has brought them into this deposition, and I’m entitled to get an
       answer.

       MR. VOGT: No. You asked her questions. She’s not bringing them into the
       deposition. She’s not seeking these damages.

       MR. AXELROD: I asked --

       MR. VOGT: She’s not seeking the damages.

Id.

       Despite refusing to answer discovery requests and deposition questions about economic

damages, Governor Palin, in response to questions about the harm she claims to have suffered,

repeatedly and vaguely referred to lost opportunities. See, e.g., Tr. of May 21, 2020 Dep. of S.

Palin, at 292:24-25–293:1-12. The following exchange is one example:

       Q       . . . You say “resources, time and fiscal.” What fiscal resources have you
       spent repairing your reputation or correcting the defamatory statement?

       A    Fiscal resources in terms of not having earned income because of The
       New York Times’ success and [sic] unfortunately defaming me.

       Q       So you haven’t spent any money out of pocket to this point to repair your
       reputation or correct the defamatory statements?

       A      I travel and speak and work pro bono a lot. And in these travels and
       speeches and events, when I have tried to correct The New York Times and
       media’s defamation, that’s, that’s an economic impact.

Id.

       Because Governor Palin and her counsel have stated she is not asserting economic

damages, including lost economic opportunities, which prevented Defendants from obtaining


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evidence related to economic damages and lost opportunities – Plaintiff cannot assert such

damages to establish reputational or any other type of injury at trial. See Bunstine v. Kivimaki,

2021 N.Y. Misc. LEXIS 4942, *11-12 (N.Y. Sup. Ct., Westchester County, Jul. 12, 2021)

(granting defendant’s motion to compel discovery information relating to economic damages, or

alternatively precluding plaintiff from “offering evidence and/or testimony at trial on the issue of

special damages”).

               2.      Governor Palin Cannot Obtain Damages for Prospective Reputation
                       Repair Costs

       To support her claim for money damages to repair her reputation, Governor Palin seeks

to introduce the testimony of Craig Kronenberger. For all the reasons in Defendants’ Motion in

Limine, the Court should conclude that, under the Federal Rules of Evidence and applicable case

law, Kronenberger’s testimony is unreliable, and his opinion and estimated cost to repair the

alleged harm to Gov. Palin’s reputation are not admissible. Even if the Court disagrees and

allows Kronenberger to offer expert testimony, Kronenberger’s opinion and Gov. Palin’s claim

for reputation repair costs that she has not incurred would only be relevant if the Court also holds

that the statements are defamatory per se. For the reasons stated in Defendants’ Motion in

Limine, the Court should conclude that the statements are not defamatory per se. As the

statements are, at most, defamatory per quod, Gov. Palin cannot recover any damages unless she

first proves special damages, which she will not be able to do, as she has already conceded she is

“not seeking to recover and will not claim or assert loss of income, job, or other paid

opportunities, including losses of book sales or any decrease in ad revenue from sarahpalin.com

or any other websites.” See Agnant v. Shakur, 30 F. Supp. 2d 420, 426 (S.D.N.Y. 1998) (“To

satisfy the special damages requirement, a plaintiff must set forth an itemized account of his

losses; round figures, general allegations of a dollar amount or boilerplate allegations of some



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impairment to business reputation are insufficient”); see also Palin v. N.Y. Times Co., 940 F.3d

804, 809 (2d Cir. 2019) (requiring proof of defamation per se or special damages).

               3.       Palin is Only Entitled to Damages from Publication of “America’s
                        Lethal Politics”

       In her Amended Complaint, Governor Palin spends significant time describing how she

was defamed in January 2011 immediately following the Arizona Shooting, see, e.g., Am.

Compl. ¶¶ 73-74, and how she was harmed by that defamation, id. ¶ 73. Indeed, during her

deposition, Governor Palin was unable to disentangle the harm she claims she suffered from the

publication of “America’s Lethal Politics” from the harm she claims she suffered from

publication of unspecified articles in 2011. See e.g., Tr. of May 21, 2020 Dep. of S. Palin, at

501:20-25 – 502:1-19.

       To the extent Governor Palin is entitled to recover at all, that recovery must be limited to

the harm she suffered as a result of the publication of “America’s Lethal Politics” – separate and

apart from the harm she claims to have suffered previously because of unspecified 2011 articles

that similarly linked the Crosshairs Map to the Arizona Shooting. See Celle v. Filipino Reporter

Enters., 209 F.3d 163,184 (2d Cir. 2000) (reversing jury verdict as to one of three statements and

remitting damages proportionally). In other words, just as Governor Palin’s damages cannot be

based on true statements within the Editorial, they cannot be based on separate statements

outside of the Editorial. See Hon. Robert D. Sack, Sack on Defamation: Libel, Slander, and

Related Problems, § 10:5.3 (5th Edition 2021) (“Plainly, the causation that a plaintiff must

establish is between the false and defamatory statement made with the requisite degree of fault

and the injury. If truthful information in a statement causes some or all of the harm, there can be

no recovery for that portion of the injury.”). There plainly must be a proven nexus between the

allegedly defamatory statement and the alleged damages. Id. Given Governor Palin’s inability



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to distinguish between the harm allegedly caused by news published about her in 2011 and the

harm allegedly caused by the statements in the 2017 Editorial, there is a substantial risk of jury

confusion – and this may require clarification or instruction at trial.

               4.      New York State Law Does Not Permit Punitive Damages in Cases
                       Such as This

       Plaintiff has provided notice of her intent to seek punitive damages. All apart from

Plaintiff’s inability to meet her burden at common law of proving that Defendants’ sole

motivation in publishing the Editorial was to harm her, Defendants respectfully submit that New

York State law separately prohibits the imposition of punitive damages in a defamation case such

as this one, in which a public figure has sued over a statement to the public on a matter of public

concern. It is well established that the New York Constitution affords materially broader

protection to speech on matters of public concern than does the First Amendment. See, e.g., 600

W. 115th St. Corp. v. Von Gutfeld, 80 N.Y.2d 130, 138 (1992); Immuno AG v. Moor-Jankowski,

77 N.Y.2d 235, 249 (1991).

       There do not appear to be any reported cases in which a New York state court has

awarded punitive damages in a case like this one. Indeed, the two state court cases that address

the issue suggest that cases involving public figures and “matters of public concern” are different

than non-public concern cases with respect to punitive damages. See Mahoney v. Adirondack

Pub. Co., 71 N.Y.2d 31, 41 (1987) (“[W]e have no occasion to consider whether plaintiff’s proof

of common-law malice was sufficient to sustain such an award or whether punitive damages are

ever recoverable in libel actions involving matters of public concern.”); Prozeralik v. Cap. Cities

Commc’ns, Inc., 82 N.Y.2d 466, 478 (1993) (quoting Mahoney).

       Defendants acknowledge that there are at least two federal cases, applying New York

State law, that assume such damages are available, relying on the somewhat ambiguous language



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in Prozeralik for their conclusion. In Celle v. Filipino Reporter Enters. Inc., 209 F.3d 163, 172,

176, 190-91 (2d Cir. 2000), the court concluded that public figure plaintiffs had sufficiently

proven common-law malice to sustain punitive damages with regard to two of three challenged

statements made by newspaper defendants, and in Stern v. Cosby, 645 F. Supp. 2d 258, 286

(S.D.N.Y. 2009), the court denied the defendant journalist’s motion for summary judgment on

the issue of punitive damages in a defamation case brought by a public-figure plaintiff. There is

no indication, however, that in either of those cases the defendants raised the State Constitutional

question raised by Defendants here. While Defendants recognize this Court may consider itself

bound to follow the assumption made by the Court of Appeals in Celle, Defendants respectfully

ask the Court to address the question so that, at a minimum, Defendants preserve the issue for

appeal to the Second Circuit, if necessary. Defendants can provide additional briefing if the

Court has questions or is inclined to hear oral argument on this issue.

               5.      The Jury’s Determination of Punitive Damages – if Necessary –
                       Should be Bifurcated

       If the Court concludes that New York state law permits an award of punitive damages in

this type of defamation action at all, then bifurcation of the question whether Defendants are

liable for punitive damages from the question of what amount of punitive damages to award

would serve the interests of both judicial economy and fundamental fairness.9 Plaintiff consents

to this proposal.


9
  To establish that defendants are liable to her for punitive damages, Governor Palin would have
to prove, in addition to the other elements of her claim, that Defendants acted with common law
malice – a separate and distinct standard from actual malice. See Prozeralik v. Cap. Cities
Commc’ns, Inc., 82 N.Y.2d 466, 479 (1993) (“[a]ctual malice, as defined in New York Times Co.
v Sullivan (376 US 254, supra), is insufficient by itself to justify an award of punitive
damages”); Celle, 209 F.3d at 184 (“Punitive damages may only be assessed under New York
law if the plaintiff has established common law malice in addition to the other elements of
libel.”).


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       Determination of the amount of punitive damages in this case would require the jury to

consider factual and legal issues that it would not otherwise need to consider – and this prospect

carries a high risk of juror confusion and prejudice to Defendants. A separate proceeding to

determine the amount of such damages if, and only if, the jury determines Defendants are liable

for punitive damages, is therefore both practical and warranted, and this separate trial would only

become necessary if the jury were to find in favor of Governor Palin on liability.

       Federal Rule of Civil Procedure 42(b) authorizes the Court to “order a separate trial of one

or more separate issues . . . [f]or convenience, to avoid prejudice, or to expedite and economize”

the proceedings. “[B]ifurcation may be appropriate where, for example, the litigation of the first

issue might eliminate the need to litigate the second issue, . . . or where one party will

be prejudiced by evidence presented against another party.” Amato v. City of Saratoga Springs,

170 F.3d 311, 316 (2d Cir. 1999); see also Smith v. Lightning Bolt Prods., 861 F.2d 363, 373-74

(2d Cir. 1988) (stating “it often would be prejudicial to a defendant to attempt to litigate its

financial condition during the trial on the issues of liability and compensatory damages”).

Liability and damage issues are commonly bifurcated, and it is particularly appropriate to do so

in cases raising First Amendment issues, where potential confusion or prejudice can take on

constitutional dimensions. See, e.g., Guccione v. Hustler Magazine, 800 F.2d 298, 300 (2d

Cir. 1986) (liability and damages bifurcated in libel action).

       Here, factually, as relevant to punitive damages, Defendants may be required to put forth

evidence of their financial information, and this showing would likely require the testimony of

witnesses who would not otherwise testify. The admission of evidence that is not otherwise

relevant at trial, coupled with the addition of a distinct legal standard, would create a high risk of

jury confusion and of prejudice to Defendants. Further, as noted above, if the jury finds in favor




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of Defendants on liability, it will not need to reach the issue of punitive damages at all.

Therefore, bifurcation of the trial, so that a determination of the proper amount of punitive

damages is only addressed by the parties and the jury if Governor Palin is able to prove liability

and common law malice, would preserve the time and resources of the Court, the parties, and the

jury.

                6.      New York Law Does not Provide for an Award of Attorney’s Fees in
                        Defamation Actions

        In this filing, Plaintiff states that she seeks recovery of her attorneys’ fees and

recoverable costs. However, New York law does not provide for an award of attorney’s fees to a

plaintiff in a defamation action. Robertson v. Doe, 05 Civ. 7046(LAP), 2010 U.S. Dist. LEXIS

151305, at *11-14 (S.D.N.Y. May 11, 2010) (stating there is a “general rule in New York against

recovery of attorneys’ fees in the context of defamation actions”); Wallace v. Weiss, 82 Misc. 2d

1053, 372 N.Y.S.2d 416, 421 (Sup. Ct. 1975) (holding that “attorney’s fees for the

commencement of this [libel] action . . . do not constitute an item of damage”).


VI.     WITNESS LIST IN THE LIKELY ORDER OF APPEARANCE

        1.      Sarah Palin
        2.      James Bennet
        3.      Elizabeth Williamson
        4.      Linda Cohn
        5.      Ross Douthat
        6.      Eileen Lepping
        7.      Phoebe Lett
        8.      Andrew Sullivan (by deposition)
        9.      Tim Crawford (by deposition)
        10.     Danielle Rhoades Ha
        11.     Hanna Ingber
        12.     Justin Stile
        13.     Sebastian Tomich (if necessary)
        14.     Craig Kronenberger (Expert)
        15.     Roland Caputo (if necessary)




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 VII. EXHIBIT LISTS WITH PARTICULARIZED OBJECTIONS NOTED IN
      ACCORDANCE WITH FED. R. CIV. P. 26(a)(3)

       A.      Plaintiff’s Exhibit List10

       Below is a list of exhibits that Plaintiff intends to offer in its case in chief, with any

objections, referenced by the applicable Federal Rule of Evidence, to such exhibits noted in the

column at the right. Defendants reserve all objections under 402 and 403, as well as

foundational objections that may depend on the witness through whom the exhibit is offered.


 Pl. Ex. DESCRIPTION                                                       OBJECTIONS
 No.
 1       America’s Lethal Politics [6/14/2017 Original Version--
         Online]
 2       NYT Opinion Tweet of America’s Lethal Politics
         [6/14/2017]
 3       NYT (Main Twitter Account) Tweet of America’s Lethal
         Politics [6/14/2017]
 4       America’s Lethal Politics [6/14/2017 Original Version--
         Print]
 5       America’s Lethal Politics—First Correction [6/15/2017]
 6       America’s Lethal Politics—Second Correction
         [6/16/2017]
 7       NYTOpinion Tweet—“We got an important fact wrong”
         [6/15/2017]
 8       NYT (Main Twitter Account) Retweet of NYTOpinion
         Correction Tweet
 9       NYTOpinion Full Correction Tweet (3 parts)
         [6/15/2017]
 10      NYT Opinion Section—Print Edition—Correction of
         America’s Lethal Politics [6/16/2017]
 11      America’s Lethal Politics—International Edition—print
         edition [6/16/2017]
 12      NYT Homepage Preservation [6/15/2017]



10
  In addition to Defendants’ stated specific objections, many of the Plaintiff’s exhibits attach
cover pages and have added content which is inauthentic and inadmissible. See, e.g., Pl. Ex. 1.
Defendants do not object to Plaintiff’s exhibits containing such content as a whole, but object to
these extraneous additions, which should be removed prior to trial.


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13     The Struggles of Sarah Palin [10/2/2008]               402, 403 (undue prejudice,
                                                              etc.)
14     Palin and Her Enemies [7/5/2009]                       402 (relevance), 403 (undue
                                                              prejudice, etc.)
15     9/3/2008 WSJ Article re. Palin Candidacy
16     Andrew Rosenthal—Talk to The Times-Reader              402 (relevance), 403 (undue
       Questions & Answers                                    prejudice, etc.)
17     Ethical Journalism—A Handbook of Values and            402 (relevance), 403 (undue
       Practices for the News & Editorial Departments         prejudice, etc.)

18     NYT Guidelines on Integrity                            402 (relevance), 403 (undue
                                                              prejudice, etc.)
19     NYT Campus Weblines—SPJC Code of Ethics                402 (relevance), 403 (undue
                                                              prejudice, etc.)
20     “Can the Bennet Brothers save the Establishment?”—     402 (relevance), 403 (undue
       Washington Post [10/29/2019]                           prejudice, etc.), 801
                                                              (hearsay)
21     “The Well Connected Bennet Family”                     402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay)
22     Technology Policing Violence—CSPAN [5/6/2014]          402 (relevance), 403 (undue
                                                              prejudice, etc.)
23     “New York Times Says Senator’s Op-Ed Did Not Meet      402 (relevance), 403 (undue
       Standards,” NYT, June 4, 2020                          prejudice, etc.), 404
                                                              (character)
24     Sarah Palin, Rage Whisperer—NYT--Nicole Wallace        402 (relevance), 403 (undue
       (Opinion) [1/25/2016]                                  prejudice, etc.)
25     She Who Must Not Be Named—NYT--Charles Blow            402 (relevance), 403 (undue
       [12/3/2010]                                            prejudice, etc.)
26     “A Smear?”—Andrew Sullivan [8/31/2008]                 402 (relevance), 403 (undue
                                                              prejudice, etc.)
27     “Why Does Trigg Matter?”—Andrew Sullivan               402 (relevance), 403 (undue
       [6/28/2010]                                            prejudice, etc.)
28     “The Day Trigg Was Born”—Andrew Sullivan               402 (relevance), 403 (undue
       [6/31/2011]                                            prejudice, etc.)
29     Ingber Article— “Mom for Vice President”               402 (relevance), 403 (undue
                                                              prejudice, etc.)
30     Pima Sherriff Loughner Investigation Files             402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay), 901 (authenticity)
31     Loughner Files—NYTimes.com                             402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay), 901 (authenticity)
32     Time, the Enemy—NYT--Arthur Brisbane (Public Editor)   402 (relevance), 403 (undue
       [1/15/2011]                                            prejudice, etc.)
33     “The Tucson Witch Hunt”—Charles Blow [1/14/2011]       402 (relevance), 403 (undue
                                                              prejudice, etc.)


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34     “United in Horror”—Ross Douthat [1/9/2011]            402 (relevance), 403 (undue
                                                             prejudice, etc.)
35     “The Arizona Shooting, and What Led Up to it”—NYT     402 (relevance), 403 (undue
       [1/9/2011]                                            prejudice, etc.)
36     “Suspect’s Odd Behavior Caused Growing Alarm”—        402 (relevance), 403 (undue
       NYT [1/9/2011]                                        prejudice, etc.)
37     “Looking Behind the Mug-Shot Grin”—NYT [1/15/2011]    402 (relevance), 403 (undue
                                                             prejudice, etc.)
38     “Before Attack, Parents of Gunman Tried to Address    402 (relevance), 403 (undue
       Son’s Strange Behavior”— NYT [3/27/2013]              prejudice, etc.)
39     Atlantic—“Jared Loughner” Articles Search             402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
40     “Caldwell’s Unfairness”—Andrew Sullivan [1/15/2011]   402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
41     “5 Best Monday Columns”—Atlantic [1/10/2011]          402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
42     “An Assassination—Live Blogging—Andrew Sullivan”      402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
43     “An Assassination?”—Andrew Sullivan                   402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
44     “Was the Shooting of Rep. Gabrielle Giffords          402 (relevance), 403 (undue
       Political?”—The Atlantic [1/5/2011]                   prejudice, etc.), 801
                                                             (hearsay)
45     “Did Sarah Palin’s Target Map Play Role in Giffords   402 (relevance), 403 (undue
       Shooting?”—The Atlantic [1/16/2011]                   prejudice, etc.), 801
                                                             (hearsay)
46     “What We Know About Jared Lee Loughner”—The           402 (relevance), 403 (undue
       Atlantic [1/10/2011]                                  prejudice, etc.), 801
                                                             (hearsay)
47     “Stop the Blame Game”—The Atlantic [1/11/2011         402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
48     “The More We Know”—Andrew Sullivan                    402 (relevance), 403 (undue
                                                             prejudice, etc.), 801
                                                             (hearsay)
49     “Here Comes the Jared Loughner Competency             402 (relevance), 403 (undue
       Hearing”—The Atlantic [5/24/2011]                     prejudice, etc.), 801
                                                             (hearsay)
50     “Ten Days That Defined 2011—The Atlantic              402 (relevance), 403 (undue
       [12/29/2011]                                          prejudice, etc.), 801
                                                             (hearsay)



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51     Sen Bennet Statement on Giffords Shooting [1/8/2011]   402 (relevance), 403 (undue
                                                              prejudice, etc.)
52     WaPo—Sarah Palin’s Crosshairs [1/9/2011]               402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay)
53     USGS Topographic Map Symbols                           402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay), 901 (authenticity)
54     Sarah Palin’s & Democrats’ Maps With Crosshairs—       402 (relevance), 403 (undue
       FactReal [1/11/2011]                                   prejudice, etc.), 801
                                                              (hearsay), 901 (authenticity)
55     DCCC.org “Recovery” Map page Wayback Machine           402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay), 901 (authenticity)
56     5 Best Columns from the Atlantic Wire [11/28/2011]     402 (relevance), 403 (undue
                                                              prejudice, etc.)
57     Something About Tucson the I Haven’t Said Email &      402 (relevance), 403 (undue
       Attachment [1/14/2011]                                 prejudice, etc.)
58     How the Media Botched the Arizona Shooting—T.A.        402 (relevance), 403 (undue
       Frank (Hyperlinked in Ex. 230)                         prejudice, etc.), 801
                                                              (hearsay)
59     Loughner’s Descent Into Madness—Atlantic [1/13/2011]   402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay)
60     Prosecutors Expect Jared Loughner to Be Found Unfit    402 (relevance), 403 (undue
       for Trial—Atlantic [5/25/2011]                         prejudice, etc.), 801
                                                              (hearsay)
61     “America’s Enduring Strength”                           402 (relevance), 403 (undue
                                                              prejudice), 801 (hearsay)
62     The Opinionator—The Baffler [12/2017]                  402 (relevance), 403 (undue
                                                              prejudice, etc.), 801
                                                              (hearsay)
63     James Bennet 2017 Performance Review Letter—A.G.
       Sulzberger
64     Liberal Use of ‘Extremist’ Is the Winning Strategy—    402 (relevance), 403 (undue
       James Bennet [11/7/96]                                 prejudice, etc.)
65     “The Newsroom Feels Embarrassed”—Vanity Fair           402 (relevance), 403 (undue
       HIVE [2/26/2018]                                       prejudice, etc.), 404
                                                              (character), 801 (hearsay)
66     NYTComms Tweet re. Bennet Statement on Quinn           402 (relevance), 403 (undue
       Norton [2/14/2018]                                     prejudice, etc.), 404
                                                              (character)
67     “Times Stands By Editorial Board Member After Outcry   402 (relevance), 403 (undue
       Over Old Tweets”—NYT [4/2/2018]                        prejudice, etc.), 404
                                                              (character)




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68     “The Outrage Over Sarah Jeong”—Brett Stephens           402 (relevance), 403 (undue
       [8/9/2018]                                              prejudice, etc.), 404
                                                               (character)
69     Elizabeth Williamson Apologizes for Jeong Tweet         402 (relevance), 403 (undue
       [8/1/2018]                                              prejudice, etc.), 404
                                                               (character)
70     “The New York Times Has Abandoned Liberalism for        402 (relevance), 403 (undue
       Activism”—Andrew Sullivan [9/13/2019]                   prejudice, etc.), 801
                                                               (hearsay)
71     O’Keefe Investigates Scope of NYT Anti-Trump Bias       402 (relevance), 403 (undue
       Within Editorial Ranks [10/10/2017]                     prejudice, etc.)
72     “Staff Anxiety” Email between Bennet & Stephens         402 (relevance), 403 (undue
       [2/7/2017]                                              prejudice, etc.)
73     “Sarah Palin endorses Darryl Glenn in Colorado’s U.S.   402 (relevance), 403 (undue
       Senate primary”—The Denver Post [6/7/2016]              prejudice, etc.), 801
                                                               (hearsay)
74     “Arrest Made in Threat on Sen. Bennet’s Office”—The     402 (relevance), 403 (undue
       Atlantic [1/10/2011]                                    prejudice, etc.), 801
                                                               (hearsay)
75     “The Trumpiest Roman of Them All”—Ross Douthat
       [6/14/2017]
76     “The real tragedy of Orlando” Op-Ed proposal Bennet     402 (relevance), 403 (undue
       forwards to Dao [6/15/2017]                             prejudice, etc.)
77     ARS PAC Endorses Michael Bennet for United States       402 (relevance), 403 (undue
       Senate [8/24/2016]                                      prejudice, etc.), 801
                                                               (hearsay)
78     Watch Colorado Se. Michael Bennet’s Floor Speech on     402 (relevance), 403 (undue
       Guns [6/16/2016]                                        prejudice, etc.), 801
                                                               (hearsay)
79     “Trump Suggests ‘Second Amendment People’ Could
       Act Against Hillary Clinton”—NYT [8/9/2016]
80     For NYT, Trump is a sparring partner with benefits—     402 (relevance), 403 (undue
       Columbia Journalism Review [6/29/2017]                  prejudice, etc.), 801
                                                               (hearsay)
81     “To Our Readers, From the Publisher and Executive       402 (relevance), 403 (undue
       Editor [11/13/2016]                                     prejudice, etc.)
82     “Trump’s Wink to Second Amendment People”—
       Thomas Friedman [8/9/2016]
83     Bennet Book Order/Reimbursement Request—“The
       Persecution of Sarah Palin” [12/17/2016]
84     Enough Said Excerpts emailed to Bennet/Baquet by        402 (relevance), 403 (undue
       Mark Thompson [6/15/2016]                               prejudice, etc.)
85     Bennet forwards Thompson email re. Enough Said to J.    402 (relevance), 403 (undue
       Dao [6/16/2016]                                         prejudice, etc.)




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86      Bennet email string with Williamson re. RNC Lineup
        [7/14/2016]
87      NYT Daily Clip Report Email 7/18/2016—GOP Arena          402 (relevance), 403 (undue
        Highlights Trump’s Blacklist                             prejudice, etc.)
88      “New Colleague to Stir Things Up” Tweet—James
        Bennet [4/5/2017]
89      Breitbart—Sarah Palin Condemns Kathy Griffin
        [5/30/2017]
90      NYT/Trump Twitter Exchange [11/13/2016]                  402 (relevance), 403 (undue
                                                                 prejudice, etc.), 801
                                                                 (hearsay)
91        Dean Baquet : ‘Trump Is the Best Thing to Happen to    402 (relevance), 403 (undue
        The Times Subscription Strategy’—Grabien                 prejudice, etc.), 801
                                                                 (hearsay), 901 (authenticity)
92      Reliable Sources—CNN—Transcript 2/26/2017                402 (relevance), 403 (undue
                                                                 prejudice, etc.)
93      ‘Truth Is Hard’ Advertising Campaign First Ever Oscars   402 (relevance), 403 (undue
        Ad—AdAge [2/23/2017]                                     prejudice, etc.), 801
                                                                 (hearsay)
94      NYT Truth Advertisements                                 402 (relevance), 403 (undue
                                                                 prejudice, etc.)
95      The Truth—NYTStore—Truth Merchandise                     402 (relevance), 403 (undue
                                                                 prejudice, etc.)
96      NYT Truth Advertising Campaign--Poster                   402 (relevance), 403 (undue
                                                                 prejudice, etc.)
97      NYT Truth Advertising Campaign – Comes at a Cost         402 (relevance), 403 (undue
                                                                 prejudice, etc.)
98      NYT Truth Advertising Campaign – It has no Alternative   402 (relevance), 403 (undue
                                                                 prejudice, etc.)
99      NYT Truth Advertising Campaign – Tweet/All Facts No      402 (relevance), 403 (undue
        Alternatives                                             prejudice, etc.)
100     The Public Editor Signs Off—NYT [6/2/2017]               402 (relevance), 403 (undue
                                                                 prejudice, etc.)
101     NYT’s New reader Center Already Proving a Step           402 (relevance), 403 (undue
        Backward in Accountability— FAIR [6/23/2017]             prejudice, etc.), 801
                                                                 (hearsay)
102     NYT Opinion—Hillary Clinton for President [9/24/2016]    402 (relevance), 403 (undue
                                                                 prejudice, etc.)
103     NYT Book—Gun Control : Changing Perspectives             402 (relevance), 403 (undue
                                                                 prejudice, etc.)
104     The Corrosive Politics That Threaten L.G.T.B.            402 (relevance), 403 (undue
        Americans [6/15/2016]                                    prejudice, etc.)
105     Exclusive—Sarah Palin Condemns ‘Sick Audacity’ of
        Kathy Griffin’s Trump Beheading Photo—Breitbart
        [5/30/2017




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106     “End the Gun Epidemic in America,” NYT Editorial        402 (relevance), 403 (undue
        Board, Dec. 4, 2015                                     prejudice, etc.)
107     “How the Trolls Stole Washington,” Amanda Hess,         402 (relevance), 403 (undue
        NYT, Feb. 28, 2017                                      prejudice, etc.)
108     “Social Media’s Globe-Shaking Power,” F. Manjoo,        402 (relevance), 403 (undue
        Nov. 16, 2016                                           prejudice, etc.)
109     Times Digest email for 6/15/2017

110     “The Indigenous American Berserk Strike Again”—Bret
        Stephens [6/15/2017]
111     “Rhetoric and Bullets”—Charles Blow [6/15/2017]
112     “Shooting is Latest Eruption in a Grim Ritual of Rage
        and Balme”—Alexander Burns [6/14/2017]
113     “Notes on a Political Shooting”—Ross Douthat
        [6/17/2017]
114     Breitbart—Sarah Palin Don’t Blame Sanders
        [6/14/2017]
115     “Are we writing about the congressional shooting”
        Email String between Williamson/Semple/Fox
        [6/14/2017]
116     “Are we writing on congressional shooting” Email
        String between
        Williamson/Semple/Fox/Cohn/Lepping/Lett [6/14/2017]
117     “Are we writing on the congressional shooting” Email
        String between
        Semple/Cohn/Bennet/Lepping/Lett/Williamson/Fox
        [6/14/2017]
118     “Are we writing on the congressional shooting” Email
        String between Williamson/Fox
119     “POSSIBLE shooter’s POSSIBLE social media pages
        pro-Bernie, anti-Trump” Email String between
        Bennet/Williamson/Semple/Fox/Cohn [6/14/2017]
120     “POSSIBLE shooter’s POSSIBLE social media pages
        pro-Bernie, anti-Trump” Email String between
        Bennet/Williamson/Semple/Fox/Cohn [6/14/2017]
121     “Gun Control past pieces from Bob” Email String
        between
        Lett/Williamson/Semple/Cohn [6/14/2017]
122     “POSSIBLE shooter’s POSSIBLE social media pages
        pro-Bernie, anti-Trump” Email String between
        Bennet/Williamson/Semple/Fox/Cohn [6/14/2017]
123     “Gun Control past pieces from Bob” Email String
        between Lett/Williamson [6/14/2017]
124     “Gun Control past pieces from Bob” Email String
        between Lett/Williamson [6/14/2017]


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125      “Gun Control past pieces from Bob” Email String
         between Lett/Bennet [6/14/2017]
126      “Gun Control past pieces from Bob” Email String
         between Lett/Bennet [6/14/2017]
127      “Gun Control past pieces from Bob” Email String
         between Lett/Bennet [6/14/2017]
128      “Gun Control past pieces from Bob” Email String
         between Williamson/Bennet [6/14/2017]
129      “Gabby Giffords’s Farewell,” NYT Opinion, Jan. 26,
         2012
130      “6,000 Bullets,” NYT Opinion, July 23, 2012
131      “Democrats Find Their Voice on Gun Control,” NYT
         Editorial Board, July 29, 2016
132      “Myths About Gun Regulation,” NYT Opinion, Jan. 31,
         2013
133      “No One Listened to Gabrielle Giffords,” NYT Opinion,
         Jan. 15, 2011
134      “Bloodshed and Invective in Arizona,” NYT Opinion,
         Jan. 9, 2011
135      “As We Mourn,” NYT Opinion, Jan. 12, 2011
136      “Gun Control past pieces from Bob” Email String
         between
         Semple/Bennet/Williamson/Fox/Cohn [6/14/2017]
137      “possible shooter id” Email sent from Williamson to
         Fox [6/14/2017]
138      “POSSIBLE shooter’s POSSIBLE social media” Email
         sent from Williamson to Bennet/Semple/Fox [6/14/2017]
139      “demons” Email from Fox to Williamson [6/14/2017]
140      Scoop History for America’s Lethal Politics
140A     Excerpt
140B     Excerpt
140C     Excerpt
140D     Excerpt
140E     Excerpt
140F     Excerpt
140G     Excerpt
140H     Excerpt
140I     Excerpt
140J     Excerpt
140K     Excerpt
140L     Excerpt
140M     Excerpt
141      America’s Lethal Politics—Williamson Draft


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142     Sarah Palin’s ‘Crosshairs’ Ad Dominates Giffords
        Debate—ABC News [1/9/2011]
143     “shootings in backfield, thanks” Email from Williamson
        to
        Bennet/Semple/Fox/Clines [6/14/2017]
144     Fox/Cohn Email String re. who’s handling Williamson
        Editing [6/14/2017]
145     “shootings in backfield, thanks” Email from Fox to
        Williamson [6/14/2017]
146     “shootings in backfield” Email string between
        Williamson/Fox [6/14/2017]
147     “a couple small suggestions” Email String between
        Williamson/Fox [6/14/2017]
148     “guns in Virginia” Email from Lepping to
        Bennet/Williamson/Fox/Cohn [6/14/2017]
149     Law Center to Prevent Gun Violence
150     Giffords Law Center to Prevent Gun Violence              402 (relevance), 403 (undue
                                                                 prejudice, etc.), 801
                                                                 (hearsay)
151     “also on shootings” Email String between
        Williamson/Lepping [6/14/2017]
152     “Lawmakers Head Warily for Home”—NYT Opinion
        Editorial [3/26/2010]
153     “also on shootings” Email String between
        Lepping/Cohn [6/14/2017]
154     “15thu1 playback—America’s Lethal Politics
        [6/14/2017]
155     “fixes on shooting” Email from Fox to Cohn [6/14/2017]
156     “15thu1 playback” for America’s Lethal Politics—Scoop
        [6/14/2017]
157     “also on shootings” Email String between
        Cohn/Lepping [6/14/2017]
158     “Do we need to put a blurb in Mira’s piece?” Email
        String between Fox/Cohn [6/14/2017]
159     “shooting hed and blurg” Email String between Cohn &
        Fox [6/14/2017]
160     Ross Douthat Tweet—“You are responsible for inciting
        violence if you actually incite or organize or bless
        violence...” [6/14/2017]
161     “a couple small suggestions” Email from Fox to Bennet
        [6/14/2017]
162     “Sanders condemnation of violence” Email from Rabbi    402 (relevance), 403 (undue
        Lerner to Bennet [6/14/2017]                           prejudice, etc.)
163     “hey” Email from Bennet to Williamson [6/14/2017]



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164     “Inciting Violence May Not Be Protected Speech”—          402 (relevance), 403 (undue
        NYT—March 5, 2013                                         prejudice, etc.)
165     NYT Manual of Style & Usage Excerpts                      402 (relevance), 403 (undue
                                                                  prejudice, etc.)
166     “Trump Incites Mob,” NYT, Jan. 7, 2021
167     Opinion Today—NYTimes.com [6/15/2017]
168     “This brings Shooting to 330” Email String between
        Fox/Cohn re. TRIM of America’s Lethal Politics for
        International Edition [6/14/2017
169     “The day on social, 6/15” Social Media Wrapup Email       402 (relevance), 403 (undue
        [6/15/2017]                                               prejudice, etc.)
170     NYT 2017 Annual Report
171     “NYTimes: The Trumpiest Roman of Them All” Email
        String between Bennet/Douthat [6/14/2017-6/15/2017]
172     Jonathan Chait Tweet
173     Chris Hayes Tweet
174     “NYTimes: The Trumpiest Roman of Them All” Email
        String between Bennet/Douthat [6/14/2017-6/15/2017]
175     NYTPolitics Tweet-“Fact Check: Partisans falsely          402 (relevance), 403 (undue
        blamed Loretta Lynch, Tim Kaine, Bernia Sanders for       prejudice, etc.)
        Wednesday’s Virginia Shooting” [6/15/2017]
176     Sarah Palin Tweets re. Editorial to “@nytopinion”
        [6/15/2017]
177     Sarah Palin “With this sickening NYT’s editorial” Tweet
        [6/15/2017]
178     “fyi, small fix on shooting editorial” Email String
        between
        Cohn/Rakowski/Levine
179     NYT Reader Emails re. America’s Lethal Politics           402 (relevance), 403 (undue
                                                                  prejudice, etc.), 801
                                                                  (hearsay)
180     Comments on America’s Lethal Politics                     402 (relevance), 403 (undue
                                                                  prejudice, etc.), 801
                                                                  (hearsay)
181     LEGIBLE Comments on America’s Lethal Politics             402 (relevance), 403 (undue
                                                                  prejudice, etc.), 801
                                                                  (hearsay)
182     Washington Post—Fact Checker Email [6/15/2017]            402 (relevance), 403 (undue
                                                                  prejudice, etc.), 801
                                                                  (hearsay)
183     “Media rips NYT Editorial after Alexandria shooting”—     402 (relevance), 403 (undue
        Axios [6/15/2017]                                         prejudice, etc.), 801
                                                                  (hearsay)




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 184       “No evidence Sarah Palin’s PAC incited shooting of         402 (relevance), 403 (undue
           Rep. Gabby Giffords”— PunditFact [6/15/2017]               prejudice, etc.), 801
                                                                      (hearsay)
 185       “Sunday sked 6.18.17” Email String between                 402 (relevance), 403 (undue
           Weiss/Seaton/!NYHQ-op-discuss [6/15/2017]                  prejudice, etc.)
 186       “Guns” Email string between Wegman/Williamson
           [6/14/2017]
 187       “And now I see” Email string between
           Wegman/Williamson [6/14/2017]
 188       Text Exchange w James Email from Williamson to self
           [6/16/2017]
 189       Williamson/Bennet 6/14/2017 Text Exchange (screen
           shots)
 190       Williamson/Bennet 6/15/2017 Text Exchange (screen
           shots)
 191       “Giffords” Email String between
           Lepping/Bennet/Williamson [6/15/2017]
 192       Lepping forwards Lett“Giffords” Email String between
           Lepping/Bennet/Williamson [6/15/2017]
 193        Bennet forwards Williamson“NYTimes: The Trumpiest
            Roman of Them All” Email String between
            Bennet/Douthat [6/15/2017]
 194        “And now I see” Email String between Wegman/Cohn
            [6/15/2017]
 195        “let’s check count of those injured” Email String
            between
            Williamson/Bennet/Lepping/Wegman [6/15/2017]
 196        “let’s check count of those injured” Email String
            between
            Williamson/Bennet/Lepping/Wegman [6/15/2017]
 197        “looks like we may have another error” Email String
            between
            Bennet/Wegman/Lepping [6/15/2017]
 198        “editorial and readers?” Email string between
            Ingber/Bennet [6/15/2017]
 199        “NYT Editorial correction” Email String between
            Rhoades
            Ha/Rubin/Alahydoian/Ingber [6/15/2017]
 20011      “Question from Yahoo News” Email String between           402 (relevance), 403 (undue
            Rhoades Ha/McGraw/Bennet [6/15/2017]                      prejudice, etc.)



11
 Plaintiff’s exhibits 200 and 227 contain redactions for “Attorney Client Privilege.”
Defendants object only to those portions of the exhibits.


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201      “Criticize Our Work Privately...”—Washington Post     402 (relevance), 403 (undue
         [2/16/2018]                                           prejudice, etc.)
202       “new wording” Email from Cohn to Bennet
203      “earlier version, w Linda’s question” email between
         Wegman/Cohn/Lepping [6/15/2017]
204      “earlier version, w Linda’s question” email between
         Wegman/Williamson [6/15/2017]
205      “Moment to chat?” Email String between
         Wegman/Erika lamb (Everytown.org)
206      “editorial and readers?” Email string between
         Ingber/Bennet [6/15/2017]
207      “editorial and readers?” Email string between
         Ingber/Bennet/Evans/Higa [6/15/2017]
208     “editorial and readers?” Email string between
        Ingber/Higa [6/15/2017]
209     “NYT Editorial Correction” Email String between
        Ingber/Rhoades Ha [6/15/2017]
210     “editorial and readers?” Email string between
        Ingber/Bennet/Evans/Higa [6/15/2017]
211     “editorial and readers?” Email string between
        Ingber/Higa [6/15/2017]
212     “Media Inquiry” Email String between Rhoades
        Ha/Sydney Smith (iMediaEthics) [6/15/2017]
213     “NYT Editorial correction” Email String between
        Rhoades Ha/Bevacqua/Jordan Cohen [6/16/2017]
214     “NYT Editorial correction” Email String between
        Rhoades Ha/Bevacqua/Jordan Cohen [6/16/2017]
215     “DRAFT—corp comm note” Email String between
        Bevacqua/Rhoades Ha [6/16/2017]
216     “New York Times issues correction to editorial after   402 (relevance), 403 (undue
        firestorm of controversy”— CNN [6/15/2017]             prejudice, etc.), 801
                                                               (hearsay)
217     “earlier version, w Linda’s question” email between
        Wegman/Williamson [6/15/2017]
218     “this line is misleading” Email String between
        Williamson/Cohn/Wegman/Bennet [6/15/2017]
219     “earlier version, w Linda’s question” Email String
        between Cohn/Wegman [6/15/2017]
220     “could you make one change, via BOB” Email String
        between Cohn/Fox [6/16/2017]
221     “David Rubenstein observer” Email String between
        Bennet/Cohn/Semple [6/16/2017]



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222     “CNN request for comment re: Times Editorial” Email
        String between O. Darcy(CNN)/Rhoades Ha [6/15/2017]
223     “Fox News Comment Request” Email String between
        Bennet/Rhoades Ha [6/15/2017]
224     “And now I see” Email string between
        Wegman/Williamson [6/14/2017]
225     “question from Yahoo News” Email between Stableford          402 (relevance), 403 (undue
        & Rhoades Ha [6/15/2017]                                     prejudice, etc.)
226     New York Times requests apology from Fox”—Politico           402 (relevance), 403 (undue
        [7/23/2017]                                                  prejudice, etc.)
227     Email String between Bennet/McGraw/Rhoades Ha re.            402 (relevance), 403 (undue
        CNN Inquiry [6/15/2017]                                      prejudice, etc.) (partially;
                                                                     other parts are admissible);
                                                                     901 (authenticity)
228     Fox News Comment Request Email String between
        Rhoades Ha/Bennet [6/15/2017]
229     Question from Business Insider Email String between          402 (relevance), 403 (undue
        Rhoades Ha/Max Tani [6/15/2017]                              prejudice, etc.); 801
                                                                     (hearsay)
230     NYT Editorial Email String Between Rhoades Ha & Sara
        Fisher (Axios) [6/15/2017]
231     CNN Request for Comment re. Times Editorial Email            402 (relevance), 403 (undue
        String Between Rhoades Ha/E. Murphy/Oliver Darcy             prejudice, etc.), 801
        [6/15/2017]                                                  (hearsay)
232     NYT Editorial Correction Email String between J. Cohen       402 (relevance), 403
        & Rhoades Ha [6/15/2017]                                     (hearsay)
233     WaPo question on Loughner claim Email String between         402 (relevance), 403 (undue
        Bennet and Paul Farhi [6/15/2017]                            prejudice, etc.), 801
                                                                     (hearsay)
234     CNN Request for Comment re. Times Editorial Email
        String Between Rhoades Ha/Bennet/Oliver Darcy
        [6/15/2017]
235     CNN Request for Comment re. Times Editorial Email            402 (relevance), 403 (undue
        String Between Rhoades Ha/Oliver Darcy [6/15/2017]           prejudice, etc.)
236     CNN Request for Comment re. Times Editorial Email            402 (relevance), 403 (undue
        String Between Rhoades Ha/Oliver Darcy [6/15/2017]           prejudice, etc.)
237     Politifact Media Inquiry re. « America’s Lethal Politics »
        Email String [6/15/2017]
238     A Note from James Bennet [2/15/2018]                         402 (relevance), 403 (undue
                                                                     prejudice, etc.)
239     The Times Issues Social Media Guidelines for the             402 (relevance), 403 (undue
        Newsroom [10/13/2017]                                        prejudice, etc.)
240     NYT Slammed for Lack of Transparency in Editor’s             402 (relevance), 403 (undue
        Resignation—The Hill [5/2/2018]                              prejudice, etc.), 801
                                                                     (hearsay)


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241     On Trust and Transparency—A.G. Sulzberger, Our New     402 (relevance), 403 (undue
        Publisher, Answers Readers’ Questions [1/22/2018]      prejudice, etc.)
242     How the New York Times Maintains its Credibility—      402 (relevance), 403 (undue
        Quill [12/15/2018]                                     prejudice, etc.), 801
                                                               (hearsay)
243     Former NY Times Editor Rips Trump Coverage as          402 (relevance), 403 (undue
        Biased—Fox News [1/2/2019]                             prejudice, etc.), 801
                                                               (hearsay)
244     Williamson Re-Tweet of Correction
245     “Palin gets Death Threats Too”—The Atlantic            402 (relevance), 403 (undue
        [3/7/2011]                                             prejudice, etc.), 801
                                                               (hearsay)
246     “The Threats Against Palin”—Andrew Sullivan            402 (relevance), 403 (undue
        [1/14/2011]                                            prejudice, etc.), 801
                                                               (hearsay)
247     James Devine--#HuntRepublicans Tweet                   402 (relevance), 403 (undue
                                                               prejudice, etc.)
248     [Same w/ Time Stamp]                                   402 (relevance), 403 (undue
                                                               prejudice, etc.)
249     Dozens of Twitter Users Call for Palin’s Death—Daily   402 (relevance), 403 (undue
        Caller                                                 prejudice, etc.), 801
                                                               (hearsay), 901 (authenticity)
250     FBI Complaint Form re. Palin Threats                   402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay), 901 (authenticity)
251     FBI Complaint Form re. Palin Threats                   402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay), 901 (authenticity)
252     FBI Complaint Form re. Palin Threats                   402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay), 901 (authenticity)
253     Death Threats Against Palin Increase—Politico          402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay)
254     Rhoades Ha Email to Kruzel re. timing of Corrections
        [6/15/2017]
255     Enough Said—“Incitement” is a crime passage            402 (relevance), 403 (undue
                                                               prejudice, etc.)
256     New York Times Editor Says Trump Has Put His           402 (relevance), 403 (undue
        Reporters’ Lives at Risk— Guardian 11/18/2019]         prejudice, etc.)
257     Analytics NYT-Roll-Up-Opinion—Main Daily Opinion
        Dashboard Email 6/16/2017 to Bennet & to
        opinionweb@nytimes.com
258     Chartbeat Daily Perspective for nytimes.com Email
        [6/16/2017]




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259     NYT Spreadsheets re. Digital Subscriptions as of
        6/14/2017 and 6/15/2017
260     NYT Pageviews
261     NYT Spreadsheets re. Social Media/Users/Referring
        URL’s
262     NYT Slack Messages re. Editorial & Social                 402 (relevance), 403 (undue
                                                                  prejudice, etc.)
263     NYT Slack Coding for America’s Lethal Politics traction   402 (relevance), 403 (undue
                                                                  prejudice, etc.)
264     That Time Trump Spent Nearly $100,000 on an Ad            402 (relevance), 403 (undue
        Criticizing U.S. Foreign Policy in 1987—BuzzFeed.News     prejudice, etc.), 801
        [1/10/2015]                                               (hearsay), 901 (authenticity)
265     Fox News Takes Out Full Page New York Times Ad After      402 (relevance), 403 (undue
        Dispute With The Paper—HuffPo [7/27/2017]                 prejudice, etc.), 801
                                                                  (hearsay), 901 (authenticity)
266     NYT 2017 Rate Card
267     NYT 2019 Rate Card
268     NYT 2021 Rate Card
269     NYT « Today’s Paper » May 21, 2020
270     NYT Advertising Media Kit                                 901 (authenticity)
271     NYT Spreadsheet Print Distribution 6/15/2017
272     How the NYT’s AI-driven data insight tool is informing    402 (relevance), 403 (undue
        ad campaigns [1/10/2019]                                  prejudice, etc.), 801
                                                                  (hearsay), 901 (authenticity)
273     The New York Times Advertising & Marketing Solutions      402 (relevance), 403 (undue
        Group Introduces ‘nytDEMO’ : A Cross-Functional           prejudice, etc.)
        Team Focused on Bringing Insights and Data Solutions
        to Brands [2/15/2018]
274     New York Times Thinks Small to reach readers on Apple     402 (relevance), 403 (undue
        Watch—Mobile Marketer                                     prejudice, etc.)
275     Stela Opinion Daily Report [6/14/2017]
276     Daily Opinion Dashboard Email—Google Analytics
        [6/16/2017]
277     Chartbeat Email [Redacted—6/16/2017]                      402 (relevance), 403 (undue
                                                                  prejudice, etc.), 901
                                                                  (authenticity)
278     Chartbeat Email [Unredacted—6/16/2017]
279     Kronenberger Summary of Editorial Comments                801 (hearsay)
280     Kronenberger Cision/SimilarWeb Spreadsheet for            801 (hearsay)
        Readership & Ad Equivalency
281     “It’s True: False News Spreads Faster and Wider,” S.      402 (relevance), 403 (undue
        Lohr, Mar. 8, 2018                                        prejudice, etc.)
282     NYT Insurance Policies                                    402 (relevance), 403 (undue
                                                                  prejudice, etc.)
283     NYT Form 10-Q September 26, 2021


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284     NYT 2020 Annual Report – Form 10-K
285     Systemic Change Needed After Faulty Times Article—       402 (relevance), 403 (undue
        NYT—Margaret Sullivan (Liz Spayd, Public Editor)         prejudice, etc.)
        [12/18/15]
286     The NY Times Promised to Fact Check their New            402 (relevance), 403 (undue
        Climate Denier Columnist— They Lied [4/29/2017]          prejudice, etc.), 801
                                                                 (hearsay)
287     “Atlantic Assures Fans It Hasn’t Sold Its Soul—Media     402 (relevance), 403 (undue
        Ad-Age [3/10/2008]                                       prejudice, etc.), 801
                                                                 (hearsay)
288     “editorials INYT, Fri., June 16” Email from Cohn to
        Levine/et.al. [6/14/2017]
289     “Exclusive: Loughner Friend Explains Alleged             402 (relevance), 403 (undue
        Gunman’s Grudge Against Giffords”—Mother Jones           prejudice, etc.), 801
        [1/10/2011]                                              (hearsay)
290     “We’re Not Going to Let Our Campaign Be Dictated by      402 (relevance), 403 (undue
        Fact-Checkers”— James Bennet (Atlantic) [8/28/2012]      prejudice, etc.)
291     “Sarah Jeong and the N.Y. Times: When Racism is Fit to   402 (relevance), 403 (undue
        Print”—Andrew Sullivan [8/2/2018]                        prejudice, etc.), 801
                                                                 (hearsay)
292     Daily Clip Report June 14 Email to James Bennet          402 (relevance), 403 (undue
                                                                 prejudice, etc.), 801
                                                                 (hearsay)
293     “We Don’t Have Proof Yet”—WSJ—Taranto                    402 (relevance), 403 (undue
        [1/10/2011]                                              prejudice, etc.), 801
                                                                 (hearsay)
294     “Assassination Attempt in Arizona”—Krugman               402 (relevance), 403 (undue
        [1/8/2011]                                               prejudice, etc.)
295     “Climate of Hate”—Krugman [1/9/2011]                     402 (relevance), 403 (undue
                                                                 prejudice, etc.)
296     “Massacre, followed by libel”—Charles Krauthammer        402 (relevance), 403 (undue
        [2/26/2011]                                              prejudice, etc.), 801
                                                                 (hearsay)
297     “It Did Not”—WSJ—Taranto [1/13/2011]                     402 (relevance), 403 (undue
                                                                 prejudice, etc.), 801
                                                                 (hearsay)
298     “Paladino’s Rant”—Andrew Sullivan [10/12/2010]           402 (relevance), 403 (undue
                                                                 prejudice, etc.)
299     “Sarah Palin Is Right About ‘Blood Libel’”—WSJ—          402 (relevance), 403 (undue
        Rabbi Boteach [1/14/2011]                                prejudice, etc.), 801
                                                                 (hearsay)
300     “Palinoia, the Destroyer”—WSJ—Taranto [1/19/2011]        402 (relevance), 403 (undue
                                                                 prejudice, etc.), 801
                                                                 (hearsay)
301     “James Bennet—Big Ideas—The Writer” [3/15/2016]          402 (relevance), 403 (undue
                                                                 prejudice, etc.)



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302     James Bennet Twitter Following                         402 (relevance), 403 (undue
                                                               prejudice, etc.)
303     « NYT Requests Apology from Fox on ISIS Story”—        402 (relevance), 403 (undue
        Politico [7/23/2017]                                   prejudice, etc.)
304     “House Democrats Unveil 2020 Targets”—CNN              402 (relevance), 403 (undue
        [1/28/2019] 28/2019]                                   prejudice, etc.), 801
                                                               (hearsay)
305     “Democrats Go on Offense...” DNCC Cheri Bustos [1/     402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay)
306     DLC—Heartland Strategy [12/13/2004]—Bullseye Map       402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay), 901 (authenticity)
307     First Read Email Atlantic [8/22/2011]                  402 (relevance), 403 (undue
                                                               prejudice, etc.)
308     MPA Daily News Roundup 9.5.11—Atlantic                 402 (relevance), 403 (undue
                                                               prejudice, etc.)
309     Content Title Report—Top Daily—Atlantic [11/21/2011]   402 (relevance), 403 (undue
                                                               prejudice, etc.)
310     Josh’s Palin Piece Email between                       402 (relevance), 403 (undue
        Bennet/Purdum/Codinha [5/12/2011]                      prejudice, etc.)
311     How ‘Fake News’ Changed The New York Times—The         402 (relevance), 403 (undue
        Wilson Quarterly [Winter 2018]                         prejudice, etc.), 801
                                                               (hearsay)
312     Reader Center : Covering Studies That Were Not Peer    402 (relevance), 403 (undue
        Reviewed [6/22/2017]                                   prejudice, etc.)
313     The NYT Had Two Embarrassing takes on the              402 (relevance), 403 (undue
        Alexandria Shooting—The New Republic                   prejudice, etc.), 801
                                                               (hearsay)
314     SimilarWeb Monthly Unique Visitors                     402 (relevance), 403 (undue
                                                               prejudice, etc.), 801
                                                               (hearsay)
315     “Why Readers See The Times as Liberal,” Liz Spayd,     402 (relevance), 403 (undue
        July 23, 2016                                          prejudice, etc.)
316     Bennet Tweets June 3, 2020                             402 (relevance), 403 (undue
                                                               prejudice, etc.), 404
                                                               (character)
317     NYT Tweet re. Cotton Op-Ed                             402 (relevance), 403 (undue
                                                               prejudice, etc.), 404
                                                               (character)
318     “Why We Published the Tom Cotton Op-Ed,” J. Bennet,    402 (relevance), 403 (undue
        June 4, 2020                                           prejudice, etc.), 404
                                                               (character)




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    B.       Defendants’ Exhibit List

Exhibit No       Date                         Description                      Objections
    1                      Complaint, Palin v. NYT                        401, 402, 403, 105 (if
                                                                          Admitted); 106 (if
                                                                          Admitted)
    2                      Amended Complaint, Palin v. NYT                401, 402, 403, 105 (if
                                                                          Admitted); 106 (if
                                                                          Admitted)
    3         6/14/2017    America's Lethal Politics, Print version
    4         6/14/2017    America's Lethal Politics, Original Digital
                           Version
    5         6/15/2017    America's Lethal Politics, Corrected Digital
                           Version
    6         6/16/2017    America's Lethal Politics, Second Corrected
                           Digital Version
    7         6/16/2017    Print Correction
    8         6/15/2017    NYT Tweet re Correction
    9         6/14/2017    Email: Williamson to Bennet, Semple, & Fox
                           "are we writing one the congressional
                           shooting?"
   10          1/9/2011    ABC News: Sarah Palin's 'Crosshairs' Ad
                           Dominates Gabrielle Giffords Debate
   11         6/14/2017    Email: Fox to Williamson "Re: are we writing
                           on the congressional shooting?"
   12         6/14/2017    Email: Williamson to Bennet, Semple, & Fox
                           "possible shooter ID"
   13         6/14/2017    Email: Williamson to Bennet, Semple, & Fox
                           "Possible shooter's Possible social media
                           pages pro‐Bernie, anti‐Trump"
   14         6/14/2017    Email: Fox to Williamson "Fwd: are we
                           writing on the congressional shooting?"
   15         6/14/2017    Email: Williamson to Fox "are we writing on
                           the congressional shooting?"
   16         6/14/2017    Email: Semple to Cohn "Re: are we writing
                           on the congressional shooting?"
   17         6/14/2017    Email: Bennet to Williamson "Re: POSSIBLE
                           shooter's POSSIBLE social . . ."
   18         6/14/2017    Email: Williamson to Bennet "Re: POSSIBLE
                           shooter's POSSIBLE social . . ."


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Exhibit No     Date                       Description                   Objections
   19        6/14/2017   Email: Lett to Williamson "Gun Control past
                         pieces from Bob"
   20                    Editorials Lett emailed
   21        6/14/2017   Email: Semple to Williamson "Re: POSSIBLE
                         shooter's POSSIBLE social . . ."
   22        6/14/2017   Email: Williamson to Lett "Re: Gun Control
                         past pieces from Bob"
   23        6/14/2017   Email: Lett to Williamson "Re: Gun Control
                         past pieces from Bob"
   24                    Frank Rich editorial
   25        6/14/2017   Email: Bennet to Lett "Re: Gun Control past
                         pieces from Bob"
   26        6/14/2017   Email: Bennet to Lett "Re: Gun Control past
                         pieces from Bob"
   27        6/14/2017   Email: Lett to Bennet "Fwd: Gun Control
                         past pieces from Bob"
   28        6/14/2017   Email: Bennet to Williamson: "Fwd: Gun
                         Control past pieces from Bob"
   29        6/14/2017   Editorials Bennet emailed.
   30        6/14/2017   Entire Scoop File
   31        6/14/2017   Excerpt from Scoop: Bennet 7:21 p.m.
                         version
   32        6/14/2017   Excerpt from Scoop: Williamson in backfield
   33        6/14/2017   Excerpt from Sccop: Linda Cohn first edit
   34        6/14/2017   Email: Williamson to Bennet et al:
                         "Shootings is in backfield, thanks"
   35        6/14/2017   Email: Lepping to Bennet: "guns in Virginia"
   36        6/14/2017   Email: Williamson to Lepping: "Re: also on
                         shootings"
   37        3/26/2010   Editorial cited in Lepping email above
   38        6/14/2017   Email: Bennet to Williamson "Re: hey"
   39        6/14/2017   Email: Fox to Cohn "fixes on shooting"
   40        6/14/2017   Email: Lepping to Cohn "Fwd: also on
                         shooting"
   41        6/14/2017   Email: Lepping to Semple, including scoop
                         file and "clean version" of America's Lethal
                         Politics




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Exhibit No     Date                       Description                         Objections
   42        6/14/2017   Email: Cohn to Williamson, including scoop
                         file and "clean version" of America's Lethal
                         Politics
   43        6/14/2017   Email: Douthat to Bennet: "Re: NYTimes:
                         The Trumpiest Roman of Them All"
   44        6/15/2017   Jonathan Chait Tweet
   45        6/15/2017   Chris Hayes Tweet
   46        6/14/2027   Text: Bennet to Williamson "Are you up? . . .
                         ."
   47        6/14/2017   Email: Williamson to Wegman "And now I
                         see"
   48        6/15/2017   Email: Lepping to Lett: "Fwd: Giffords"
   49        6/15/2017   Email: Lepping to Bennet: "Re: Giffords"
   50        6/15/2017   Email: Wegman to Williamson: "Re: And
                         now i see"
   51        6/15/2017   Text: Williamson to Bennet: "Do you have
                         time to talk by phone this morning?"
   52        6/15/2017   Email: Bennet to Ingber: "Re: editorial and
                         readers"
   53        6/15/2017   Email: Ingber to Higa, Bennet: "Re: editorial
                         and readers?"
   54        6/15/2017   Email: Higa to Ingber, Bennet: "Re: editorial
                         and readers?
   55        6/15/2017   Email: Rhoades Ha to Smith: "Re: Media
                         Inquiry"
   56                    INTENTIONALLY LEFT BLANK
   57                    INTENTIONALLY LEFT BLANK
   58                    INTENTIONALLY LEFT BLANK
   59        6/15/2017   Williamson Retweet of Correction
   60        6/15/2017   Bennet to Rhoades Ha: "CNN Request for
                         Comment"
   61                    Crosshairs Map
   62        3/23/2010   Palin Facebook: Don't Get Demoralized!          401, 402,403, 404,
                                                                         405
   63        3/23/2010   Palin Tweet: Don't Retreat. Reload              401, 402,403, 404,
                                                                         405
   64        11/4/2010   Palin Tweet: "Remember months ago               401, 402,403, 404,
                         "bullseye" icon used 2 target . . .             405


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Exhibit No     Date                        Description                           Objections
   65         1/9/2011    CBS News: Palin Criticized Over Giffords . . .    401, 402, 403, 404,
                                                                            405, 801, 802
   66         1/9/2011    CBS News: The End of Palin's Don't Retreat .      401, 402, 403, 404,
                          ..                                                405, 801, 802
   67        1/12/2011    Politico: Palin Charges Critics with "Blood       401, 402, 403, 404,
                          Libel" . . . .                                    405, 801, 802
   68        5/30/2017    Breitbart: Sarah Palin Condemns 'Sick
                          Audacity' of Kathy Griffin's Trump . . .
   69         6/1/2017    Palin Article: Kathy Griffin Blamed Sarah
                          Palin's "Crosshairs Map"
   70        6/14/2017    Breitbart: Exclusive ‐‐ Sarah Palin: Hopefully
                          Media Have Learned To Not Play . . .
   71        6/14/2017    Email: Recher to Windeknecht: "Aaron pls          401, 402, 403, 404,
                          post this link next . . ."                        405, 801, 802
   72        6/14/2017    Email: Perry to Recher: "I'm going to publish     401, 402, 403, 404,
                          the SP one you did to FB in about 15 mins . .     405, 801, 802
                          ."
   73        6/14/2017    Email: Perry to Knorr: "I think it would be       401, 402, 403, 404,
                          great if you want to write it up for the          405, 801, 802
                          website."
   74        6/15/2017    Palin Article: FLASHBACK: Sanders'                401, 402, 403, 404,
                          Fundraising Email Falsely Accuses Palin of        405, 801, 802
                          Inciting 2011 Shooting
   75        6/15/2017    Palin Tweet: "With this sickening NYT's
                          editorial, the media is doing exactly what I
                          said yesterday should not be done . . ."
   76        6/15/2017    Palin Tweet: Does Sarah Palin have a libel
                          case?
   77        6/14/2017    Rep. Rodney Davis on Poltically‐Motived           401, 402, 403, 404,
                          Violence                                          405, 801, 802
   78        6/15/2017    Palin Article: Palin Investigates Legal Options   401, 402, 403, 404,
                          Following New York Times' Fake News               405, 801, 802
   79        10/5/2018    Palin Tweet: Hey Lisa Murkowski ‐ I can see       401, 402, 403, 404,
                          2022 from my house...                             405, 801, 802
   80        9/23/2020    Palin Video: Lisa Murkowski ‐ I can 2022          401, 402, 403, 404,
                          from my House                                     405, 801, 802
   81        3/11/2020    Masked Singer Video ‐ Reveal                      401, 402, 403, 404,
                                                                            405, 801, 802
   82        12/12/2016   1 Quote from NYT's Editor about Christians        401, 402, 403, 404,
                          Tells You Everything You Need To Know . . .       405


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Exhibit No     Date                       Description                          Objections
   83        2/14/2017   NYT Reporter Calls Melania "A Hooker,"           401, 402, 403, 404,
                         Instantly Two Things Happen                      405
   84        3/2/2017    NYT Just Slammed Trump For Something             401, 402, 403, 404,
                         They IGNORED Under Obama For 8 Years             405
   85        3/26/2017   The NY Times Just Dropped a BOMBSHELL            401, 402, 403, 404,
                         Concession About MSNBC And The Liberal           405
                         Media
   86        4/19/2017   NYT Publishes Articles From Convicted            401, 402, 403, 404,
                         Terrorist...But It Gets WORSE                    405
   87        4/22/2017   NYT Editor Calls Himself THIS For Misleading     401, 402, 403, 404,
                         Tweet                                            405
   88        4/26/2017   FINALLY! NYT Reporter Posts Misleading           401, 402, 403, 404,
                         Tweet On Trump . . .                             405
   89                    Masked Singer Video ‐ Dancing and Rapping        401, 402, 403, 404,
                                                                          405, 801, 802
   90        7/22/2021   Zillow: Sarah Palin most desirable celebrity
                         neighbor: poll
   91        7/26/2021   Breitbart: Sarah Palin, Seahwaks Greats
                         Team Up for Alaska Kids
   92        4/20/2020   Palin Responses to Requests for Admission        401, 402, 403,106 (if
                                                                          Admitted)
   93                    INTENTIONALLY LEFT BLANK
   94        5/14/2020   Palin Am. Response to Request for                401, 402, 403, 106 (if
                         Admission ‐ RFA 27                               Admitted)
   95        6/14/2017   Email: Recher to Knorr re "This is great and I   401, 402, 403, 801,
                         think it would be good for tomorrow"             802
   96        8/9/2016    Thomas Friedman: Trump's Wink Wink to
                         'Second Amendment People'
   97        6/17/2017   Elizabeth Williamson: Another, Far Different,    401, 402, 403, 404,
                         Washington Billionaire                           405, 801, 802
   98        2/28/2020   Kronenberger Report
   99        2/28/2020   Kronenberger underlying documents
   100       2/28/2020   Kronenberger Comment analysis
   101       6/15/2017   Stela Report
   102       6/16/2017   Daily Opinion Dashboard
   103       7/27/2017   New York Post: Sarah Palin sues NY Times         401, 402, 403, 404,
                                                                          405, 801, 802




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Exhibit No     Date                       Description                       Objections
   104       6/15/2017   Business Insider: New York Times corrects     401, 402, 403, 404,
                         editorial that drew huge backlash for         405, 801, 802
                         blaming Sarah Palin
   105       8/29/2017   Forbes: Sarah Palin's Defamation Suit         401, 402, 403, 404,
                         Against the New York Times is Dismissed       405, 801, 802
   106       8/21/2019   Washington Post: New York Times lawyer on     401, 402, 403, 404,
                         Palin editorial: 'It was an honest mistake'   405, 801, 802
   107                   INTENTIONALLY LEFT BLANK
   108       2/28/2020   Cision: America's Lethal Politics
   109       1/26/2016   Washington Post: The GOP Contest              401, 402, 403, 404,
                                                                       405, 801, 802
   110                   About SarahPalin.com                          401, 402, 403, 404,
                                                                       405
   111       6/14/2017   NYT: Shooting Is Latest Eruption in a Grim
                         Ritual of Rage and Blame
   112       9/3/2008    WSJ: Palin Candidacy Exposes Divisions        401, 402, 403, 404,
                         Among Women                                   405, 801, 802
   113                   INTENTIONALLY LEFT BLANK
   114       1/30/2016   A Chance to Reset the Republican Race         401, 402, 403, 404,
                                                                       405, 801, 802
   115                   INTENTIONALLY LEFT BLANK
   116                   Palin Facebook Page                           401, 402, 403, 404,
                                                                       405
   117                   Palin Twitter Page                            401, 402, 403, 404,
                                                                       405
   118                   Sarahpalin.com                                401, 402, 403, 404,
                                                                       405
   119                   INTENTIONALLY LEFT BLANK
   120                   INTENTIONALLY LEFT BLANK
   121                   Turning Point USA: America Fest 2021          401, 402, 403, 404,
                         Speakers                                      405
   122                   Turning Point USA: Palin Bio                  401, 402, 403, 404,
                                                                       405
   123       6/14/2017   Emails b/w Jesse Wegman & Elizabeth
                         Williamson re: guns
   124       7/29/2014   Video ‐ WSJ: Sarah Palin Launches Her Own     401, 402, 403, 404,
                         Subscription Channel                          405, 801, 802




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Exhibit No     Date                        Description                         Objections
   125                    Sarahpalin.com ‐ Online Store                   401, 402, 403, 404,
                                                                          405
   126       6/15/2017    Online: Front page of NYT
   127       6/15/2017    Online: Front page of NYT (later)
   128                    Stela: America's Lethal Politics
   129                    Stela: News Article on Shooting
   130                    Palin Instagram Account                         401, 402, 403, 404,
                                                                          405
  131*       1/31/2011    The Dish (Andrew Sullivan Blog): Guarding       401, 402, 403, 404,
                          Their Heritage                                  405, 801, 802
  132*        1/8/2011    The Dish (Andrew Sullivan Blog): An
                          Assassination?
  133*        1/8/2011    The Dish (Andrew Sullivan Blog): An
                          Assassination Attempt in Arizona
  134*       1/17/2011    The Dish (Andrew Sullivan Blog): The More
                          We Know
  135*       1/15/2011    The Dish (Andrew Sullivan Blog): Caldwell's
                          Unfairness


   200        1/6/2021    Palin Fox News re Capital Insurrection          401, 402, 403, 404
   201         2021       Palin Video: American Prosperity Summit         401, 402, 403, 404
   202       6/10/2021    Confirmed Speakers: Young Women's               401, 402, 403, 404
                          Leadership Summit
   203       11/18/2009   Politico: Palin Trashes "Lamestream Media"      401, 402, 403, 404
   204       6/17/2016    Palin: Obama "is a special kind of stupid"      401, 402, 403, 404
   205                    INTENTIONALLY LEFT BLANK
   206       6/25/2009    Miami Herald: Palin popular among               401, 402, 403, 404,
                          Republicans but polarizing according to poll    405, 801, 802
   207        9/4/2008    Politico: Media swoon over Palin's fiery        401, 402, 403, 404,
                          speech                                          405, 801, 802
   208       8/20/2020    Steve Schmidt: "paranoia, pathological lying,   401, 402, 403, 404,
                          profound ignorance, brittleness and             405, 801, 802
                          insanity"
   209       10/5/2011    Palin Will Not Seek Presidential Nomination     401, 402, 403, 404,
                                                                          405, 801, 802
   210                    Washington Post: Seven Years Ago Palin          401, 402, 403, 404,
                          Gave the Best Speech of Her Life                405, 801, 802




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Exhibit No     Date                        Description                         Objections
   211       11/6/2015    Sarah Palin Evolves on Katie Couric             401, 402, 403, 404,
                                                                          405, 801, 802
   212       10/21/2008   RNC Shells Out $150k for Palin Fashion          401, 402, 403, 404,
                                                                          405, 801, 802
   213       4/26/2010    CBS News: Did Sarah Palin Resign as             401, 402, 403, 404,
                          Governor Because of Money                       405, 801, 802
   214        7/4/2009    Los Angeles Times: Sarah Palin's Resignation    401, 402, 403, 404,
                          as Alaska Governor sets off speculation         405, 801, 802
   215       1/13/2010    Steve Schmidt's war against Palin               401, 402, 403, 404,
                                                                          405, 801, 802
   216                    Going Rogue                                     401, 402, 403, 404,
                                                                          405
   217                    America By Heart                                401, 402, 403, 404,
                                                                          405
   218                    Sarah Palin Uncut                               401, 402, 403, 404,
                                                                          405
   219                    Good Tidings and Great Joy                      401, 402, 403, 404,
                                                                          405
   220                    Sweet Freedom: A Devotional                     401, 402, 403, 404,
                                                                          405
   221                    Sarah Palin: You Betcha!                        401, 402, 403, 404,
                                                                          405
   222       1/12/2011    Palin Statement re Blood Libel                  401, 402, 403, 404,
                                                                          405
   223       1/12/2011    Reuters: Palin's "Blood Libel" Charge Ignites   401, 402, 403, 404,
                          Firestorm                                       405, 801, 802
   224       1/12/2011    Salon: Sarah Palin Re‐Inserts Herself in the    401, 402, 403, 404,
                          News Cycle                                      405, 801, 802
   225       10/7/2010    60 Minutes: Steve Schmidt Article               401, 402, 403, 404,
                                                                          405, 801, 802
   226       10/9/2008    NBC News: Legislative Report re Palin Firing    401, 402, 403, 404,
                          Public Safety Commissioner                      405, 801, 802
   227       10/10/2008   Legislative Report                              401, 402, 403, 404,
                                                                          405, 801, 802
   228        7/4/2009    Business Insider: Sarah Palin: Quitter          401, 402, 403, 404,
                                                                          405, 801, 802
   229       4/19/2017    Palin Facebook Post ‐ Hilary Clinton            401, 402, 403, 404,
                                                                          405




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  Exhibit No       Date                          Description                        Objections
     230        8/19/2020      Palin: "I wouldn't prostitute myself . . . ."   401, 402, 403, 404,
                                                                               405
     231        7/29/2014      Palin Channel Promo                             401, 402, 403, 404,
                                                                               405

  *Defendants may offer if the need arises

VIII. ESTIMATED LENGTH OF TRIAL

       Five (5) days.

Dated: January ___, 2022                                ______________________________
                                                        Rakoff, J.




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January 17, 2022                             Respectfully submitted,

For Plaintiff:                               For Defendants:

TURKEL CUVA BARRIOS, P.A.                    BALLARD SPAHR LLP

/s/ Shane B. Vogt                            By: /s/ David L. Axelrod
Kenneth G. Turkel (admitted pro hac vice)        David L. Axelrod
Email: kturkel@tcb-law.com                       Jay Ward Brown
Shane B. Vogt (admitted pro hac vice)            Thomas B. Sullivan
Email: svogt@tcb-law.com                         Jacquelyn N. Schell
100 North Tampa Street, Suite 1900           1675 Broadway, 19th Floor
Tampa, Florida 33602                         New York, NY 10019-5820
Tel: (813) 834-9191                          Phone: (212) 223-0200
Fax: (813) 443-2193                          Fax: (212) 223-1942
                                             brownjay@ballardspahr.com
Michael M. Munoz                             axelrodd@ballardspahr.com
E-mail: mmunoz@golenbock.com                 sullivant@ballardspahr.com
Golenbock Eiseman Assor Bell & Peskoe LLP    schellj@ballardspahr.com
711 Third Avenue
New York, NY 10017                           Counsel for Defendants
Tel: (212) 907-7300
Fax: (212) 754-0330

Counsel for Plaintiff




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